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          Addendum to Change in Terms Agreement and Related Documents

         This Change in Terms Agreement and all other Related Documents are subject to and further

 governed by the Interim and Final Orders Authorizing Debtor to Obtain Post-Petition Financing and the

 Stipulation and Consent Order and Tho St4uLntinn pnH (‘nncest Ordcr (1) Modifying and Extending Orders

 Authorizing DIP Financing and Use of Cash Collateral and (2) Authorizing Amendment of DIP Loan

 Documents (as the same have been amended, modified, supplemented and extended from time to time

 hereinafter collectively! the “Financing Orders”) entered or to be entered by the United States Bankruptcy

 Court for the Western District of Pennsylvania in Borrower’s chapter 11 case pending at Case No 20-

 20425-GLT, and upon entry on the docket of the Court such Financing Orders shall become “Related

 Documents” as such term is defined and used in this Agreement, the Business Loan Agreement, the

 Commercial Security Agreement, the Open-End Mortgage and Security Agreements, the Modifications of

 Mortgage, the Assignments of Rent, the Commercial Guarantys and all other DIP Loan Documents (as

 defined in the Financing Orders), In the event of any inconsistency between the provisions of the Financing

 Orders and any of the DIP Loan Documents, the provisions of the Financing Orders shall govern.

         ACKNOWLEDGED AND AGREED, this                   day of February, 2021.


  ATTEST:                                               BORROWER:

                                                       VIDEOMINING CORPORATION


                                                        By:
  Secretary or Assistant Secretary                            Rajeev Sharma, President

                                                        LENDER:

                                                        ENTERPRISE BANK


                                                        By:                                      (Seal)
                                                              Authorized Signer

  CONSENTED TO:
  GUARANTORS:


  Rajeev Sharma


  Vishnu Priya Sharma




                                        EXHIBIT A
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                                                   0960%06007026%251 853162%02222021

                                              CHANGE IN TERMS AGREEMENT
   Principal              Loan Date          Maturity          Loan No              Call) Coil           Account           Officer         Initials
 $335,000.00             02-22-2021                            6007026            RCC4                 251853162              EH
    References in the boxes abcve are for Lendees use only and do not limit the apphcabihty of this document to any particular Dan or     Hem.
                              Any item above conrnin:ng    “““  has been omitted cue to text length limitations.

Borrower:         VldeoMining Corporation                                    Lender:         ENTERPRISE SANK
                  403 South Allen Street Ste 101                                             EVAN HAYWARD
                  State College, PA 16801                                                    4091 Mount Royal Boulevard
                                                                                             Allison Park, PA 15101


 Principal Amount: $335000.00                                                                     Date of Agreement: February 22, 2021
 DESCRIPTION OF EXISTING INDEBTEDNESS. Existing Indebtedness is represented by the foltewing: the Pmmissory Note between VideoM’ning
 Corporation and Enterprise Bank in the original amount of 5175.000.00 dated March 4. 2020 and the Change in Terms Agreement increasing
 the DIP Line of Credit to $210,000 dated September 4, 2020.
 DESCRIPTION OF COLLATERAL. Pursuant to an Order entered on March 2, 2020 in Grantor’s Chapter 11 Bankruptcy in the United States
 Bankruptcy Court for the Western District of Pennsylvania at Case Number: 2D-2D425 rDlP Lending Orde?), as amended by that certain
 Stipulation and Consent Order Authorizing Amendment or DIP Loan Documents. daled August 27, 2020 authorizIng the increase or the DIP Line
 of Credit from $1 75.DDD.D0 to $210,DO0.OO (‘2nd DIP Lending Order”), Lender shall hove a first lien position on alt Accounts Receivables of
 the Grantor Borrower arising atler the entry or the Dl? Lending Order, together with a best available lion In and to all of the business assets of
 the Borrower including inventory, machinery, equipment, patents and gonoral lntanibtes, whether now existing or hereafter odslng, together
 with all proceeds thereof, mortgage liens upon Guarantors residence and Borrower’u conimercial real estate, Guarantors’ personal guarantees
 and new Guaranty Agreements to be executed by Guarantors in connection with thIs CITand an Assignment of Depository Account with a
 minimum balance of $125,000.00.
 DESCRIPTION OF CHANGE IN TERMS. The Borrower and Lender have agroed that they will increase the line of credit amount from
 $210,000.00 to $335,000. Tho Increased amount of $125,000 will be secured by casti in a deposit account at EnterprIse Bank with a minimum
 deposit or $125,000, and Borrower moy request advances of up to 100% of this portion so long as the maximum outstanding amount of the
 DIP Line of Credit does not exceed $335,000 ot any given time, Borrower may redraw on the DIP Line of Credit up to 50% of eligible AiR up to
 the same $210,000 upon Enterprise Bank’s positive conrirmatlan of the AIR from VideoMinings customer(s), The DIP Line of Credit shall never
 exceed 100% of the approved AIR, The effectiveness of this Change in Terms and the other related documents is contingent upon Bankruptcy
 Court approval.
 PROMISE TO PAY. VideoMlning Corporation (“Borrower”) promises to pay to ENTERPRISE BANK (“Lender”), or order, in lawful money of the
 United States of America, the principal amount of Three Hundred Thirty-five Thousand & 00/100 Dollars ($335,000.00) or so much as may be
 outstanding, together with Interest on ttie unpaid outstanding principal balance of each advance, calculated as described In the “INTEREST
 CALCULATION METHOD” paragraph using an interest rate of 8.000% per annum based on a year of 360 days. Interest shall be calculated
 from the date of each advance untIl repayment of each advance. The interest rate may chango under the terms and condItions of the
 “INTEREST AFTER DEFAULT” section.
 PAYMENT. Borrower will pay this loan In full ImmedIately upon Lender’s demand.            If no demand Is made, Borrower will pay this loan In
 accordance with the following payment schedule:
     The DIP Line of Credit will be paid In monthly Installments of Interest with principal reduction payments In tho amount of 500/, paId upon
     collectIon of the etigible AIR upon which, the advance(s) was mode, The DIP Line of Credit shall n,,,ture upon the earlier of (I) March 4,
     2021 (Ii) the sale of all or a substantial part of the Borrower’s patent portfolIo ar any other sale of the Borrower’s assets under section 363
     of the Bankruptcy Code (Il U.S.C. §363); or (iii) the confirmation of a Chapter ii plan of reorganization or liquidation in the Bankruptcy
     Case.
Unless olherwise agreed or required by apptcable law, payments will bo applied to tho Leneers cisrelion. Borrower will pay Lender at
Lender’s address shown above or at such other place as Lender may designate In writing.
INTEREST CALCULATION METHOD. Interest on this loan is computed on a 365(360 basis; that Is, by applying the ratio of the Interest rate over
a year of 360 days, multiplied by the outstanding principal balance, multiplied by the actual number of days the principal balance is outstandtng.
All interest payable under this loan Is computed using this method. This calculation method results in a higher effective interest rate than the
numeric interest rate stated in the loan documents,
PREPAYMENT. Borrower may pay w:thoui penally all cr a ponion of the amount owed eari’ur lnnn it is uue. Early payments will not, unless
agreed to by Lender in writing, relieve Borrower of Borrower’s obligation to continue to make payments of accrued unpaid interest. Rather, early
payments will reduce the orincina; balance due. Borrower agrees not to sure Lender payments r.arked ‘paid in full”, ‘without recourse’, or
similar language. if Borrower senes such a oayment, Lender may accept it without losing any of Lenders rights under this Agreement, and
Borrower will remain obligated to pay any further amoun; owed to Lerder. All written communications concerning disputed amounts, including
any check or other payment instrument that indicates that the payment constitutes “payment in full” of the amount owed or that Is tendered
with other conditions or limitations or as full satisfaction of a disputed amount must be malted or delivered to: ENTERPRISE BANK, EVAN
HAYWARD, 4091 Mount Royal Boulevard, Allison Park, PA 15101.
LATE CHARGE, Ir a payment is 15 days or more late, Borrower will be charged 5.000% of the unpaid portion of the regularly scheduled
payment or $25.00, whichevar Is greater.
INTEREST AFTER DEFAULT. Upon defauil, including failure to pay upon final maturity. the interr.tst rain on ihis loan shall be increased by 4.000
percentage points. If judgment is entered in connection with this Agreement, interest will continue to accrue after the date of udgmeni at the
rate in effect at the time judgment is entered. However, in no eveni will the interest rate exceed the maximum interest rate limitations under
applicable law.
DEFAULT. Each ot the roilowing shall constitute an Event of Default under this Agreement:
     Payment Default, Borrower fails to make any payment when due under the indebtedness,
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                                                 CHANGE IN TERMS AGREEMENT
  Loan No: 6007026                                                (Continued)                                                              Page 2

      Other Defaults. Borrower fails to comply with or to perform any other term. obligation, covenant or condition contained in this Agreement
      or in any of the Related Documents or to comply with or to perform any term, obligation, covenant or condition conteinod in any other
      agreement between Lender and Borrower.
       Defautt In Favor of Third PartIes. Any guarantor or Borrower defaults under any loan, extension of credit, security agreement, purchase or
       sales agreement, or any other agroemont, in favor of any other creditor or person that may materially afrect any of any guarantor’s or
       Borrower’s property or ability to perform their respective obligations under this Agreement or any of the Related Documents,
       False Statements. Any warranty, representation or statement made or furnished to Lender by Borrower or on Borrower’s behalf under this
      Agreement or the Related Documents is false or misleading in any material respect, either now oral tho time made or furnished or becomes
      false or misleading at any time thereafter.
      Insolvency. The dissolution or termination of Borrower’s existence as a going business, the insolvency of Borrower, the appointment of a
      receiver for any pan of Borrowers property, any assignment fcr the benefit of creditors, any type of creditor workout, or the
      ccmmencement of any proceeding under any bankruptcy or nsoiver.cy laws by or against Borrower.
      Creditor or Forfeiture Proceedings. Commencement of foreclosure or forfeiture proceedings, whether by judicial proceeding, self-help,
      repossession or any other mefhod. by any creditor of Borrower or by any governmentat agency against any collateral securing the
      Indebtedness. This includes a garnishment of any of Borrower’s accounts. including deposit accounts, with Lender. However, this Event
      of Default shaH not appiy if there is a gocd faith dispute by Borrcwer as to the validity or reasonableness of the claim which is the basis of
      the creditor or forfeiture proceeding and if Borrower gives Lender written notice of the creditor or forfeiture proceeding and deposits with
      Lenoer monies or e surety bond for the creditor or forfeilure proceeding, in an amount delormined by Lender, in Its sole discretion, as being
      an adequate reserve or bend for (he dispute.
      Events Affecting Guarantor. Any of the preceding events occurs with respect to any Guarantor of any of the Indebtedness or any
      Guarantor dies or becomes incompetent, or revokes or disputes the validity of. or liability under, any Guaranty of the Indebtedness
      evidenced by this Note,
      Change In Ownership. Any change in ownership of twenty-five percent (25%) or more of the common stock of Borrower,
      Adverse Change, A material adverse change occurs in Borrower’s financial condition, or Lender bciieves the prospect of payment or
      performance of the indebtedness is inipaired.
     insecurity. Lendor In good faith believes itself insecure,
     Cure Provisions, If any default. other nan a default In payment, is curable and if Borrower has nol been given a notice of a breach of the
     same prevision ef this Agreemen: witnin the preceding twelve (12) months, it may be cured if Borrower, after Lender sends written nctice
     to Borrower demanding cure of such default: (I) cures the defoull within ten (10) days. or (2) if inc cure requires more than ten (10)
     days, immedateiy initiates steps which Lender deems in Lender’s sole discretion to be sufficient 10 cure the default and thereafter
     continues and completes all reasonable and necessary sleps sufflcient to produce compliance as soon as reasonably practical.
 LENDER’S RIGHTS. Upon defauli, Lender may. after giving such notices as required by applicable law, declare the entire unpaid prindpai
balance under Inis Agreement and all accrued unpaid interest immediateiy due, and then Borrower will pay that amount,
ATTORNEYS’ FEES; EXPENSES. Lender may hire or pay someone etse, including internal legal counsel, to help collect this Note If Borrower
does not pay. Borrower will pay Lender that amount. This includes! subject to any limits under applicable law, Lender’s reasonable attorneys’
fees and Lender’s legal expenses, wheiher or not there is a lawsuit, including reasonable attorneys’ fees, expenses for bankruptcy proceedings
(Including efforts to modify or vacate any automatic stay or injunction), and appeals. Ii not prohibited by applicable law, Borrower also witi pay
any court costs, In addition to all other sums provided by law. Au such attorneys’ fees and expenses will become part of the amounts due and
owing under this Note and, at Lender’s oplion will (A) become payabie on demand; (B) be added to the balance of the Note and be apportioned
among and be payabie with any instaliment payments to become due during either (1) the remaining term of the Note or (2) be treated as a
balloon payment which wilt be due and payable nt the Note’s maturity. The attorneys’ fees and expenses shall bear interest at the Note rate
from the date of expenditure until paid.
JURY WAIVER. Lender and Borrower hereby waive the right to any jury trial in any action, proceeding, or counterclaim brought by either Lender
or Borrower against the ether. (Initial Here
GOVERNING LAW. This Agreement will be governed by federal law applicable to Lender and, to the extent net preempted by federat law, the
laws of the Commonwealth of Pennsylvania without regard to its conflicts of law provisions. This Agreement has been accepted by Lender in
the Commonwealth of Pennsylvania.
DISHONORED ITEM FEE. Borrower will pay a ee to Lender of $10.00 if Borrowur makes a paymert cn Borrowers loan and the check or
preauthonzed charge with which Borrower pays is later dishonored.
RIGHT OF SETOFF, To the extent permitted by applicable law, Lenoer reserves a right of seteft In all Borrowers accounts with Lender (whether
checking, savings, or some other account). This includes all accounts Borrower holds jointly with someone else and all accounts Borrower may
open in the future, However, this doos not include any IRA or Keogh accounts, or any trust accounts for which setoff would be prohibited by
law. Borrower authorizes Lender, to the exlent permitted by applicable law, to charge or seloff all sums owing on the Indebtedness against any
and all such accounts.
LINE OF CREDIT. This Agreement evidences a revolving line of credit. Advances tinder this Agreement may be requested orally by Borrower or
as provided in this paragraph. AU oral requests shall be confirmed In writing on the day of the request. All communications, instructions, or
directions by telephone or otherwise to Lender are to be directed to Lender’s effice shown above. The following person or persens are
authorized to request advances and authorize payments under the line of credit until Lender receives from Borrower, at Lender’s address shown
above, written notice of revocation of such authority: flajeev Sharma, President of VideoMining Corporation; Christopher Sossi, CFO of
VideoMining Corporation, Borrower agrees to be liabie for all sums either: (A) advanced In accordance with the instructions of an authorized
person or (B) credited to any of Borrowers accounts with Lender. The unpaid principal balance ewing on this Agreement at any time may be
evidenced by endo’sements en this Agreement or by Lender’s internal records. includng daily ccmpiter print-outs.
CONTINUING VALIDITY. Except as expressly changed by litis Agreement, the terms of the original obi:gation or obUgations, indud:ng all
agreements evidenced or securing the obligation(s). remain unchanged and in full force and effect. Con5er.t by Lender to this Agreement does
net waive Lender’s right to strict performance of the obhgationis) as changed, nor obligate Lender to make any future ctrnnge in terms. Nothing
in this Agreement will constitute a satisfaction of the obtigat.an(s). It is the intention of Lender to retain as liable parties all makers and
endorsers of the original ob!igat;on(s), inciudng accommodation parties, unless a party is expressly released by Lender in writing. Any maker or
endorser, including accommodation makers, will not be released by virtue of this Agreement. ii any person who signed the original obligation
does not sign this Agreement below, then all persons signing below acknowledge that this Agreement is given conditionally, based on the
representation to Lender that the non-signing party consents to the changes and provisions of this Agreement or otherwise will not be released
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                                                  CHANGE IN TERMS AGREEMENT
  Loan No: 6007026                                         (Continued)                                                                       Page 3

 by H, This waiver applies not only to any initial extension, modification or release, but also to alt such subsequent actions.
 COMPENSATING BALANCES. Borrower shall maintain at Enterprise Bank Borrowers Debtor in Possession Account authorized by that certain
 Order Authorizing Debtor to Use Existing Bank Accounts dated February 10. 2020 entered In the Bankruptcy Case through March 12, 2020 or
 any other order of the court (“Cash Collateral Order”) entered In the Bankruptcy Case, if Borrower fails to timely make any Interest or principal
 payment due, Bank nay recoup the payment by debiting tho deposit account,
 ADMIN EXPENSE CLAIM. AtI arrtounts advanced pursuant to this Note shalt bo entitled to an administrative expense claim with priority over any
 and alt administrative expenses of any kind specified in 503(b) or 507(b) of the Bankruptcy code,
 AIR CONFIRMATION. Borrower shalt provide a copy of each invoice requested to be advanced upon, along with a copy of corresponding
 purchase order/contract and customer contact information for confirmation of the subject account(s) receivable by VideoMinings customer;
 Borrower aisn shall pay the Bank a $100 accounts receivabte confirmation fee per invoice advanced upon.
 EMPLOYEE RETENTION. Bank’s obligation to make any advance undor the DIP Line of Credit is contingent upon Borrcwer continuing to retain
 Christopher Bossi for financial management of Borrower.
 LINE OF CREDIT ADVANCE FORMULA. Borrower shall bo permitted to Sorrow up to $125,000 without the support of any Accounts receivaoie.
 Borrower shut be permitted to draw on tho DIP Line of Credit over the amount of $125,000 en up to 50% of eligible accounts rece;vabie arising
 after the entry on March 4. 2020 of the Interim Order Authorizing Debtor Ta Obtnin PosIPebtion Financing in the Borrowers Chapter 11
 bankruptcy case filed in the United States Bankruptcy Court for the Western District of Pennsylvania (the Bankruptcy Court) at Case Number
 20-20425 (hereinafter the Bankruptcy Case’) not to exceed an outstanding balance at any time of $335,000. Borrower may redraw On the
 DIP Line of Credit up to 50% of eligible A/R upon Enterprise Bank’s positive confirmatIon of the AIR from VidooMining’s customer(s).
 DEFINED TERMS. Capitalize terms used in this agreement but not otherwise defined in this agreement shalt have the meaning ascribed to them
 in the Related Documents.
 SUCCESSOR INTERESTS. The terms of ttiis Agreement shall be binding upon Borrower, and upon Borrowers heirs, personal representatives,
 successors, and assigns, and shall be enforceable by Lender and its successors and assigns,
 NOTIFY US OF INACCURATE INFORMATION WE REPORT TO CONSUMER REPORTING AGENCIES. Please notify us if we report any inaccurate
information about your account(s) to a consumer reporting agency. Your written notice describing the specific inaccuracy(ies) should be sent to
us at the fottowing address: ENTERPRISE BANK 4091 MT. ROYAL BOULEVARD ALLISON PARK, PA 15101.
MISCELLANEOUS PROVISIONS. This Agreement is payable en demand. The Inclusion of specific default provisions or rights of Lender shalt not
 preciuce Lender’s rigni to deda’e payniunt of this Agreement 0.9 its demand. If any part of this Agreement cannot be enforced this fact will not
affect the rest of the Agreement. Lender mitoy cetay or forgo enforcing any of ta rights or remecies under this Agreement without losmg them.
Borrower and any other person who signs, guarantees or endoses this Agreement. to he extent oltewud by law, waive oresenlrnent, demand
for payment, and notice of dishonor. Upon any change in the terms of this Agreement, and unless othorwise expressly stated in writing, no
party who a gns this Agreement. whether as maker, guarantor, accommodation maker or endorser, shalt be released from, liability. Alt such
par.ies agree that Lender may renew or extend (repeatedty ard for any length of lime) th:s loan or release any party or guarantor or collateral, or
impair, fail to realize upon or per’feci Lender’s secjrity interest in the collateral; and take any other action (:oerned necessary by Lender without
the consent of or notice to anyene. All such parties also agree that Lender may mudfy this loan without the consent of or notice to anyone
other than the party with whom lie mnodificntlon is made. The obligations under this Agreement ore joint and several, If any portion of this
Agreement is for any roason determined to be unenforceable, it will not affect the entorceabilily of any other provisions of this Agreement.
CONFESSION OF JUDGMENT.                  BORROWER HEREBY IRREVOCABLY AUTt’IORiZES AND EMPOWERS ANY ATTORNEY CR THE
PROTHONOTARY OR CLERK OF ANY COURT IN THE COMMONWEALTH OF PENNSYLVANIA, OR ELSEWHERE, To APPEAR AT ANY TIME
FOR BORROWER AFTER A DEFAULT UNDER THIS AGREEMENT AND WITH OR WITHOUT COMPLAINT FILED, CONFESS OR ENTER
JUDGMENT AGAINST BORROWER FOR THE ENTIRE PRINCIPAL BALANCE OF THIS AGREEMENT AND ALL ACCRUED INTEREST. LATE
CHARGES AND ANY AND ALL AMOUNTS EXPENDED OR ADVANCED BY LENDER RELATING TO ANY COLLATERAL SECURING THE
INDEBTEDNESS, TOGETHER WITH COSTS OF SUIT, AND AN ATTORNEY’S COMMISSION OF TEN PERCENT (10%) OF THE UNPAID
PRINCIPAL BALANCE AND ACCRUED INTEREST FOR COLLECTION, BUT IN ANY EVENT NOT LESS THAN FIVE HUNDRED DOLLARS ($500)
ON WHICH JUDGMENT OR JUDGMENTS ONE OR MORE EXECUTIONS MAY ISSUE IMMEDIATELY, AND FOR SO DOING, THIS AGREEMENT
CR A COPY OF THIS AGREEMENT VERIFIED BY AFFIDAVIT SHALL BE SUFFICIENT WARRANT, THE AUTHORITY GRANTED IN THIS
AGREEMENT TO CONFESS JUDGMENT AGAINST BORRCWER SHALL NOT BE EXHAUSTED BY ANY EXERCISE OF THAT AUTHORITY, BUT
SHALL CONTINUE FROM TIME TO TtME AND AT ALL TIMES UNTIL PAYMENT IN rULL OF ALL AMOUNTS DUE UNDER THIS AGREEMENT.
BORROWER HEREBY WAIVES ANY RIGHT BORROWER MAY HAVE TO NOTICE OR TO A HEARING IN CONNECTION WITH ANY SUCH
CONFESSION OF JUDGMENT AND STATES THAT EITHER A REPRESENTATIVE OF LENDER SPECIFICALLY CALLED THIS CONFESSION OF
JUDGMENT PROVISION TO BORROWER’S ATTENTION OR BORROWER HAS BEEN REPRESENTED BY INDEPENDENT LEGAL COUNSEL.
PRIOR TO SIGNING THIS AGREEMENT, BORROWER READ AND UNDERSTOOD ALL THE PROVISIONS OF THIS AGREEMENT. BORROWER
AGREES TO THE TERMS OF THE AGREEMENT.
THIS AGREEMENT IS GIVEN UNDER SEAL AND IT IS INTENDED THAT THIS AGREEMENT IS AND SHALL CONSTITUTE AND HAVE THE
EFFECT OF A SEALED INSTRUMENT ACCORDING TO LAW.

BORROWER:



VIDEOMINING CORPORATION

By:                                                         (Seal)
      Rajeev   Sharrna,   President    of    VldeoMtning
      Corporation

ATTEST:

                                                                                              Corporate    Seal
Secretary or Assistant Secretary
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                                        CHANGE IN TERMS AGREEMENT
Loan No: 6007026                                 (Continued)                                           Page   4



LENDER:


ENTERPRISE BANK


x________________________________________________
 Authorized Signer

                                     04• C!     ll0!lDeF. 203’.   •   !•t•II...d-øA CtClLP0C IC In)
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                               DISCLOSURE FOR CONFESSION OF JUDGMENT
   Principal             Loan Date          Maturity            Loan No             Call / Coil            Account           Officer      Initials
 $335,000.00            02-17-2021                             6007026            RCC4                   251853162              EH
    References in tho boxes above are for Landers use only and do not limit the applicabIlity at this document to any partIcular loan or torn,
                              Any item above containing         has been omitted due to text length ilmllatlono,
Doolarant:     VldeoMinlng Corporation                                      Lender:         ENTERPRISE BANK
               403 South Allen Street Ste 101                                               EVAN HAYWARD
               Stnto Collage, PA 16801                                                      4081 Mount Royal Boulovard
                                                                                            AllIson Park, PA 15101


                                      DISCLOSURE FOR CONFESSION OF JUDGMENT

 THE UNDERSIGNED IS EXECUTING ON BEHALF OF DECLARANT, THIS           DAY OF                                                            20_, A
 PROMISSORY NOTE FOR $335000.00 OBLIGATING OECLARANT TO REPAY THAT AMOUNT.

 A. THE UNDERSIGNED UNDERSTANDS THAT THE NOTE CONTAINS A CONFESSION OF JUDGMENT PROVISION THAT WOULD PERMIT
 LENDER TO ENTER JUDGMENT AGAINST DECLARANT IN COURT, AFTER A DEFAULT ON THE NOTE, WITHOUT ADVANCE NOTICE TO
 DECLARANT AND WITHOUT OFFERING DECLARANT AN OPPORTUNITY TO DEFEND AGAINST THE ENTRY OF JUDGMENT. IN EXECUTING
 THE NOTE, BEING FULLY AWARE OF DECLARANT’S RIGHTS TO ADVANCE NOTICE AND TO A HEARING TO CONTEST THE VALIDITY OF
 ANY JUDGMENT OR OTHER CLAIMS THAT LENDER MAY ASSERT AGAINST DECLARANT UNDER THE NOTE, THE UNDERSIGNED, ON
 BEHALF OF THE DECLARANT, IS KNOWINGLY, INTaLIGENTLY. AND VOLUNTARILY WAIVING THESE RIGHTS. INCLUDING ANY RIGHT TO
 ADVANCE NOTICE OF THE ENTRY OF JUDGMENT. AND THE UNDERSIGNED EXPRESSLY AGREES AND CONSENTS TO LENDER’S ENTERING
 JUDGMENT AGAINST DECLARANT BY CONFESSION AS PROVIDED FOR IN THE CONFESSION OF JUDGMENT PROVISION.
 INITIALS:




 B. THE UNDERSIGNED FURTHER UNDERSTANDS THAT IN ADDITION TO GIVING LENDER THE RIGHT TO ENTER JUDGMENT AGAINST
 DECLARANT WITHOUT ADVANCE NOTICE OR A HEARING. THE CONFESSION OF JUDGMENT PROVISION IN THE NOTE ALSO CONTAINS
 LANGUAGE THAT WOULD PERMIT LENDER, AFTER ENTRY OF JUDGMENT, AGAIN WITHOUT EITHER ADVANCE NOTICE DR A HEARING. TO
 EXECUTE ON THE JUDGMENT BY FORECLOSING UPON, ATTACHING, LEVYING ON TAKING POSSESSION OF OR OTHERWISE SEIZING
 DECLARANT’S PROPERTY. IN FULL OR PARTIAL PAYMENT OF THE JUDGMENT. IN EXECUTING THE NOTE. BEING FULLY AWARE OF
 DECLARANT’S RIGHTS TO ADVANCE NOTICE AND A HEARING AFTER JUDGMENT IS ENTERED AND BEFORE EXECUTION ON THE
 JUDGMENT. THE UNDERSIGNED, ON BEHALF OF THE DECLARANT, IS KNOWINGLY. INTELLIGENTLY AND VOLUNTARILY WAIVING THESE
 RIGHTS, AND THE UNDERSIGNED EXPRESSLY AGREES AND CONSENTS TO LENDER’S IMMEOIATELY EXECUTING ON THE JUDGMENT IN
 ANY MANNER PERMITTED BY APPLICABLE STATE AND FEDERAL LAW, WITHOUT GIVING DECLARANT ANY ADVANCE NOTICE.
 INITIALS:




 C.  AFTER HAVING READ AND DETERMINED WHICH OF THE FOLLOWING STATEMENTS ARE APPLICABLE, BY INITIALING EACH
 STATEMENT THAT APPLIES, THE UNDERSIGNED REPRESENTS THAT:

 INITIALS

             1. DECLARANT WAS REPRESENTED BY DECLARANT’S OWN INDEPENDENT LEGAL COUNSEL IN CONNECTION WITH THE
             NOTE,

             2. A REPRESENTATIVE OF LENDER SPECIFICALLY CALLED THE CONFESSION OF JUDGMENT PROVISION IN THE NOTE TO
             DECLARANT’S ATTENTION,



 THIS DISCLOSURE IS GIVEN UNDER SEAL AND IT IS INTENDED THAT THIS DISCLOSURE IS AND SHALL CONSTITUTE AND HAVE THE
 EFFECT OF A SEALED INSTRUMENT ACCORDING TO LAW.

 DEC LARANT:



VIDEOMINING CORPORATION

                                                           ‘(SeaI)
    Rajaov    Sherma,     PresIdent    of    VideoMInIng
    Corporation

ATTEST:

                                                                                             Corporate Seal
 Secretary or Assistant Secretary
    Case 20-20425-GLT                      Doc 241-2 Filed 02/23/21 Entered 02/23/21 13:33:55                                             Desc
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                                         ASSIGNMENT OF DEPOSIT ACCOUNT
   Principal           Loan Date         Maturity            Loan No                Call I Coil          Account           Officer       Initials
 $335000.00           02-11-2021                             6007026              RCC4                 251853162              EH
   References In the boxes above are for Lender’s usa only and do not limit the apphoabitty of this document to any particular ioen or item.
                             Any item above containing         has been omitted due to text length ilmltations.
Borrower:       VidaoM:nlng Corporation                                       Lender:         ENTERPRISE BANK
                403 South Allan Street Sta 101                                                EVAN HAYWARD
                Stato Collage, PA 16801                                                       6091 Mount Royni Bouieverd
                                                                                              Aiii,on Park, PA 1 5101
Grantor:        Rajaev Sharma
                Vishnu Prlya Sharmn
                2391 Shagbark Court
                State Coiiogo, PA 1 6803



 THIS ASSIGNMENT OF DEPOSIT ACCOUNT dated Fobruory 11, 2021, Is made and executed among Rajaov Sharma and Vishnu Priye Shorma
 (‘Grantor”l: VideoMining Corporation (“narrower’); and ENTEI1PRiSE DANK (‘Lender”).
 ASSIGNMENT. For vaiuab!e ccnsideratior, Grantor assigns and grants ID Lendor a security interest in the cclie:erai, inciuding wthout limitation
 tie deposit eccountts doscribed below, to secure the indebtedness ano agrees that Lender shall have the rIghts stated in this Agreement with
 respect to tho Collateral, in addition to all other rights which Lender may have by law.
 COLLATERAL DESCRIPTION. The word “Cofatoral’ means the following descr:bed deposit accountlsl i”Account”i:
      Savings Account Number                      with Lender with an approxlmato balance of $125,000.00
 together with IA) all interest, whether now accrued or hereafter accruing; IS) all odditional doposits hereafter made to the Account; (C) any
 and oil proceeds from the Account; end (DI all ronewols, repacements end substitutons for any of the foregoing.
 BORROWER’S WAIVERS AND RESPONSIBILITIES. Except as otherwIse rcqu!red under this Agraemnt or by applicable law, (Al Borrower
 agroes that Londar need not tell Borrowor about any action or inaction Lender takes In connection with this Agreement; IBI Borrower assumes
 the responsibIlity for beIng and keeping Informed about the Collateral; and lCl Borrower waives any defenses that may arise becauea of any
 action or inaction of Lender, Including without limitation any failure at Londor to roatize upon the Collateral or any delay by Lender In realizing
 upon the Collateral; and Borrower ogrees to remain liable under the Note no matter what action Lander takes or tails to take under this
 Agreement.
 GRANTOR’S REPRESENTATIONS AND WARRANTIES. Grantor warrants that: IA) this Agreement Is executed at Borrower’s request and not
 at the request of Lender; (B) Grantor has the lull right, power end authority to enter into this Agroement and to pledge tho Collateral to Lendor;
 (Cl Grantor has established adequate means of obtaining from Borrower one continuing basis information about Borrower’s finanelei condition;
 and (DI Lender has made no representation to Grantor about Borrower or Borrower’s creditworthiness,
 GRANTOR’S WAIVERS, Grantor woivos nil requirements of presentment, protest, demand, and notice of dishonor or non-payment to Borrower
 or Grantor, or any other party to the Indebtedness or the Collateral. Lender may do any of (ho following with retpect to eny obligation of any
 Borrower, without first oblaining the consent of Grantor: (A) grtnt any extension of timo (or any peytnent, (B) grant any renewal, tC) permit
 any modification of payment terms or other terms, or tOt exchange or release any Cotlatoral or othor security. No such act or failure to act
 shall effoci Lender’s rights egoins: Grontar or the Coliatarai.
RIGHT OF SETOFF. To tho extant permitted by appkcabie law, Lender reserves a right of satoff in at; Grantor’s accounts with Lender (whether
chocking, savings, or some othar accounti. This inctudos all arcounts Grantor holds jointly with someone eisa and eli accounts Grantor may
open in the future, however, this does not inriude any IRA or Keogh accounts, or any trust accounts for whIch setoff would be prohibited by
law. Grantor authorizes Lender, tc the extent permitted by applicable law, to charge or setoff nil sums owing on the indebtedness ag&nst any
end all such accounts.
GRANTOR’S REPRESENTATIONS AND WARRANTIES WITH RESPECT TO THE COLLATERAL. Wth respect to the Collateral, Grantor represents
and promises to Lender that:
     Ownership. Grantor is the lawful owner of tho Coliatoral free and clear of all loans, liens, encumbrances, and claims except as disclosed to
     end accepted by Lendar in writing.
     Right to Grant Security Interest, Grantor has the full right, power, and authority to enter Into this Agreement and to assign the Collateral to
     Lender,
     No Prior Assignment, Grantor has not previously granted e security Interest In the Collateral to any other creditor,
     No Further Transfer, Grantor shall not soil, assign, encumber, or otherwise disposa of any of Grantor’s rights in the CcIlaiaraI except as
     provided in this Agreement.
     No Defaults. There are no defaults relating to the Cotlatorei. end there are no offsets or counterclaims to the same. Grantor will strictly
     and promptly do everything required of Grantor under the terms, conditions, promises, and agreements contained In or relatIng to the
     Collateral,
     Proceeds. Any and all replacement or renewal certificates, instruments, or other benefits or proceeds related to the Collateral that are
     racoived by Grantor shall bc held by Grantor in trust for Lender end immediately shall bo doiivered by G’antcr to Lender to be held as pert
     of the Colalaral.
     Validity: Binding Effect. This Agreement is binding upon Grantor and Granter’s hairs, personal reurser.:atives, successors and assigns end
     is egally enforceaoia in acccrdanca with Its terms.
     Financing Statements. Grantor authorizes Lender to file a UCC financing statement or alternatively, a copy of this Agreement to perfect
     Lender’s security interest. At Lender’s request, Grantor additionally agrees to sign all other documents that are necessary to perfect,
     protect, and continua Lander’s security interest in the Property. Grantor wCi pay el fi;lng fees, tItle transfer tees, and other fees and costs
     involved unless nrehiblted by law or unless Lender Is reqtjired by law to pay such lees and costs. Grantor Irrevocably appoints Lender to
     execute documents necessary to transfer title it there is a default, Lender may Pta a copy of this Agreement as a financing statement,
     Grantor will promptly notify Lender of any change to Grantor’s name or the name of any individual Grantor, any Individual who is a partner
     fore Grantor, and any individual who is a trustee or settler or truslor for a Grantor under thIs Agreement. Grantor will also promptly notify
     Lender of any change to the name that appears on the most recently issued, ur:expired dilver’s license or state-issued Identification cord,
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     any expiration at tho moot recently issued drlvar’s license or state-issued identification card for Grantor or any individual for whom Grantor
     Is required to provide notice regarding name changes.
LENDER’S RIGHTS AND OBLIGATIONS WITH RESPECT TO THE COLLATERAL. While thIs Agreement is in effect, Lender moy ret&n the rghts
to possession of the Collateral, together with any and all evidence of the Collateral, such as certificates or passbooks. This Agreement wit
remain in effect until (a) there no longer is any ir.debtedness owing La Lender; fbI all other obligations secured by this Agreement have been
fulfilled; and (ci Grantor, in writing, has requested from Lender a release of this Agreement.
LENDERS EXPENDITURES. if any action or proceeding is commenced that would materially effect Lender’s interest in the Collateral or if
Grantor faiia to comply with any provision of this Agreement or any Rotated Documents, lnciudlng but not limited to Grantor’s fature to
discharge or pay when the ony amounts Grantor is roquirod to cisoharge or pay uncer this Agreament or any Related Documents, Lender on
Grantor’s behalf may but shall not be ooiigotod tol take any action that Lender deans appropriate, inc’ud;ng but not limited to d:acharging or
paying all taxes, liens, socurity Interests, encumbrances and other cieims. at any time ievied or placed on the Collateral and paying all costs for
insuring, maintaining and preserving the Collateral. All such axpondituros incurred or paid by Londcr for such purposes will than baar interest at
the rate charged under the Note from the date incurred or paid by Lendr to the date of repayment by Grantor, A;: such expenses wiii become a
part of the Indebtedness and, at Lender’s option, viil IA) be payable on demand; 161 be added to the balance of the Note and bo apportioned
among end be peyabie with any installment payments to become due during either (ii the term of any aDpflcabe insurance policy; or 12) the
remaining term of ti-a Note; or IC) be treated as a banoon payment which wi be cua and payable at the Note’s maturIty. Thu Agreement also
will secure payment of thesc amounts. Such right shall be in addition to all other rights and remedas to which Lender may be entitled upon
Default.
LIMITATIONS ON OBLIGATIONS OF LENDER. Lender shall use ordinary reasonable care in the physicai preservation and custody of any
certificate or passbook for the Cotaterai but shall have no ather obligation to protect tho Co’intr,rai or its value, In partictiar, but wthout
limitation, Lender shall have no responsibility (A) for the colioctlon or protection of any income on the Collateral; fBI for the preservation of
,Ights against lasuura of the Collateral or against third persons; IC) for ascerteinlng any maturities, conversions, exchanges, offers, tenders, or
similar matters relating to the Collateral; nor (Dl for Informing the Grantor about any of the ebove, whether or not Lender has or Is deemed to
have knowlodgo of such matters.
DEFAULT. Each of the following shall constitute an Evnnt of Default under this Agreement:
     Payment Default. Borrowor falls to meke any paymont when due under the Indebtedness.
     Othar Defaults, Borrower or Grantor fails to comply with or to perform any other term, obligation, covenant or condition contained In this
     Agreement or In any of tha Palsied Documents or to comply with or to perform any term, obligation, covenant or condition contained in any
     other agreement between Lcndar and Borrower or Grantor.
    Dofoult In Favor of Third Parties. Borrower, any guarantor or Grantor defaults under any loan, oxtonsion of credit, security agreement,
    purcheso or sales agreement, crony other egraemont, in favor of any other creditor or parson that may matorially affect any of Borrower’s,
    any guarantor’s or Grantor’s property or ability to perform their rcspcctivo obligations under this Agreement or any of the Related
    Documents.
    Fatsa Statements. Any warranty, roprosontation or statcrnont made or furnished to Lender by Borrower or Grantor or on Borrower’s or
    Grantor’s behalf under this Agreement or the Related Documents is false or misleading in any matoritti respect, either now or at the time
    made or furnished or becomes feise or misleading at any time thereafter.
     Defective Coliatarelixation, This Agreement or any of tho Related Documonta coasea to be in full force and effect (including failure of any
     collateral document to croate a valid end porfoctod security intarost or lIen) at any timo and for any reason.
    Death or Insolvency. Tho doath of Borrower or Grantor or the dissolution or termination of Borrower’s or Grantor’s exIstence as a going
    business, the insolvency of Borrower or Grantor, the appointment of a receiuar for any pert of Borrower’s or Grantor’s property, any
    assignment for the benefit of creditors, any typo of creditor workout, or the ccmmancament of any proceeding under any bankruptcy or
    Insolvency laws by or against Borrower or Grantor.
    Creditor or Forfeiture Proceedings. Commencement of foreclosure or forfeiture prococdings, whother by judicial proceeding, self-help,
    repossession or any other method, by any creditor of Borrower or Grantor or by any governmental agency against any collateral securing
    the Indebtedness. This includes a garnishmen: of any of Borrower’s or Grantor’s accounts, including deposit accounts, with Lender.
    Howevor, this Event of Default shot not apply if there Is a good faith dispute by Borrower or Grantor as to the validity or reasonebianess of
    the claim Which is the basis of the creditor or forfeiture proceeding end If Borrower or Grantor gives Lender written notice of the creditor or
    forfeituro proceeding and deposits with Lender mcnies or a surety bond for ths creditor or forfeiture oroceeding, In an amount determined
    by Lender, in its sole discretion, as being an adenuate reserve or bond for the cispute.
    Evonts Affecting Guarantor. Any of the precadirg events occurs with respect to any Guarantor of cry of the lndobtadnoss or Guarantor
    dies or becomes incompetent or revokes or disputas the valIdIty of, or liability under, eny Guaranty of the indobtednoss.
    Adverse Chenge. A material adverse change cccurs in Borrower’s or Grantcr’s financial ccndit!cn, or Lender believes the prospect of
    payment or ptrfcrmance of the indebtedness is Impaired.
    insecurity. Lender in good faith octievos itso:f insecure,
    Cure Provisions. if any default, other than a defauit In payment, Is curable and if Granter has not oeen given a notice of a breacn of the
    same provision of this Agreemert within the preceding twelve fi 21 months, it may be cured If Granto. after Lender sends written notice to
    Borrower oemer.dng cure of such default: 1) cures the default within ten fi 01 days; or 12) if the cure requires more than ton (101 days,
    :mmodiaftly initiates steps which Lender deems :n Lender’s sole discretion to be sufficient to cure the default and thoroafter continues and
    completos all reasonable and necessary steps suficient to produce compliance cs soon as reasonably practical.
RIGHTS AND REMEOIES ON DEFAULT. Upon the occurrence of an Event of Default, or at eny time tnereafter, Lander may exercise any era cr
more of the focwing rights and remedies, in addition to any righta or remacies that may be available at law, in equity, or otherwise;
    Accelerate )ndobttdness. Lender may declare all Indebtedness of Borrower to Lander immediately due and payable, without notice of any
    kind to Borrower or Grantor,
    Application of Account Ptoceods. Lender may take directly all funds in the Account and appLy them to the Indebtedness. if the Acoount is
    subject to an early withdrawal penalty, that penalty shall be deducted from the Account before its application to the Indebtedness, whether
    the Account Is with Lender or some other institution. Any excess funds remaining after application of the Account procoeds to the
    Indebtedness will be paId to Borrower or Grantor as the interests of Borrower or Granter may appear. Borrower agrees, to the extent
    permitted by law, to pay any doficioncy after application of the proceeds of the Acoount to the Indebtedness. Lender also shall have at the
    rights of a secured party under the Pennsylvania Uniform Commercial Code, even if the Account is not otherwise subject to such Code
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     concerning security Interests, and the parties to this Agreement agree that the provisions of the Coda giving rights to a secured party shail
     nonetheless be a part of this Agreement,
     Transfer Title. Lender may effect transfer of tItle upon sole of eli or port of the Coileteral. For this purpose, Grantor irrevocably authorizes
     Lendor to execute endorsements, assignments and Instruments In the name of Grantor end each of them (if more than one) as shell be
     necessary or reasonable.
    Other Rights end Remedies. Lender shall have and may exercise any or all of the rights and remedies of a secured creditor under tho
    provisions of thu Pennsylvania uniform Commercial Coda, at law, in equity, cr otherwise.
    Deficiency Judgment. if permitted by applicable law, Lender may obtain a Judgment for any deficiency remaining in the indebtedness duo
    to Lender after appflcatlon of oil amounts received from tho exorcise at the rights provided In this section.
    Election of Remedies, Except as may be prohibited by applicable law, all of Lander’s rights and remedies, whether ovidenced by this
    Agreement or by any othor writing, shall ho cumulative and may be exorcIsed singularly or concurrently. Election by Lender to pursue any
    remedy shell not exclude pursuit of any other remedy, and an election to make expondituros or to take action to perform an obligation of
    Grantor under this Agreement, after Grantor’s failure to perform, shell not effect Lender’s right to declare a default and exercise its
    remedies.
    Cumulative Remedies. All of Lender’s rights and remedies, whether evidenced by this Agreement or by any other writing, shall be
    cumulative and may be exercised singularly or concurrently. Election by Lender to pursue any remedy sheil not exciude pursuit of any other
    remedy, and en election to make expenditures or to take action to perform an obligation of Grantor under this Agreement, aftor Grantor’s
    failure to perform, shell not effect Lender’s right so declare a default end to exercise its remedies.
MISCELLANEOUS PROVISIONS. The following miscellaneous provisions are a part of this Agreement:
    Amendment,. This Agreement, together with eny Pointed Documents, constitutes the entire understanding and agreement of the parties
    ea to the mattors set forth in this Agreement. No alteration of or artiendment to ihis Agreement shall be effective unless given in writing
    end signod by the party or parties sought to be charged or bound by the aileration or amendment.
    Attorneys Foes; Expenses, Grantor agrees to pay upon demand all ci Lender’s costs and expenses, Including Lender’s reasonable
    attorneys tees and Lender’s legal expanses, Incurred in connection with the enforcement of this Agreement. Lender may hire or pay
    someone else to help enforce this Agreement, and Grantor shall pay the costs and exponsos of such enforcement. Coats and expenses
    include Lenders reasonable attorneys’ fees and legal expenses whether or not there is a lawsuit, including reasonable attorneys’ fees end
    legal expenses for bankruptcy proceedings (including efforts to modify or vacate any automatic stay or in(unotionl, appeals, and any
    anticipated pastjudgment collection sorvicos. Grantor also shall pay all court costs and such additional foes es may be direoted by the
    court.
    Caption Headings. Caption headings in this Agreement are for convenience purposes only and are not to be used to interpret or define the
    provisions of this Agreement.
    Governing Law, Tisla Agreement will be governed by federal law applicable to Lender end, to the oxtent not preempted by federal law, the
    tows of the Commonwealth of Ponnsylvonia without regard to its conflicts of law provisions. This Agreement has been atcopted by Lender
    in the Commonwealth of Pennsylvania.
    Joint and Several Liability. Au obligations of Borrower and Granter under this Agreement shall be Ioint and several, end all references to
    Grantor shail mean each and every Grantor, and all references to Borrower shah mean oach and ovary Borrower, This means that each
    Borrower and Grantor signing below is responsibie for eM ebtgeticns in this Agrcomont.
    No Waiver by Lender. Lender shall not be deemed to have waived any rights under this Agrooment unloss such waiver is mven in writing
    and signed by Lender. No delay or omission en the part of Lender in exercising any right shall operate as a waiver of such right or any
    other right. A waiver by Lender of a provision of this Agreomont shaM not pre)udice or constitute o waiver of Lenders right otherwise to
    demand strict compliance with that provision or any other provision of this Agreement. No prior waiver by Lender, nor any coure of
    dealing between Lender and Grantor, shall censtituto a waiver of any of Lender’s rights or of any of Granter’s obligations as to any future
    transactions. Whenever the consent of Lender is roquirod under this Agreement, the granting of such consent by Lender in any Instence
    shall not constitute continuing consent to subscqucnt instances where such consent is required and in all cases such consent may be
    granted or withheld in the sole discretion of Lender.
    Notice,. Unless otherwlsa provIded by applicable low, any notice required to be given under this Agreement shah be given in writing, and
    shall be affective when actually delivered, when actually received by telefacsimiic iunless oliterwiso roquired by law), when deposited with
    a netionclly recognized overnight courier, or, if meiiod, when deposited in the UnIted States mali, as first class, certified or registered mail
    postage prepaid, directed to the addresses shown near the beginning of this Agreement, Any party may change its address for notices
    under this Agreement by giving formal written notice to the other parties, specifying that the purpose of the notice is to change the partys
    address, For notice purposes, Grantor agrees to keep Lender Informed at all times of Grantor’s current address. Unless otherwise provided
    by applicable law, II there is more than one Grantor, any notice given by Lender tu any Granter is deemed to be notice given to cii Grantors,
    Additional Authorizations, Grantor horeby authorizes Lender, Irrevocably, with full power of substitution, to do the following, either In
    Lenders own name or In the name of the Grantor, or otherwise, which In discretion of Lender may seam to be necessary or advisable: (1)
    to demand, collect, receive, receipt tar, sue and recover all sums of money or other property which may now or hereafter become due,
    owing or payable from the Coliatoral; (2) to execute. sign and endorse any and alt claims, Instruments, receipts, check,, drafts or
    warrants issued in payment far the Collateral; (Si to settle or compromise eny and all claims arising under the Collateral, and in the place
    and stead of Grantor, to execute and deliver its release and settlement for the claim; and (4) to file any claim or claims or to take any
    action or institute or take part in any preceedings, This authorization Is given as security for the indebtedness, and the authority hereby
    conferred is and shall be Irrevooabio and shall remain in full force and effect until renounced by Lender, It is understood and agreed that
    any exercise of this authorization by Lender shall be on behalf of Lander and not on behalf of Grantor. Lender is not an agent or fiduciary of
    Grantor. However, in exercising the authorization granted hereby, Lender shell exercise reasonable caution end prudence end Lander shall
    keep full and accurate record of all actions, receipts and disbursements.
   Severebility. if a court of competeni JurisdIction finds any provision of this Agreement to be illegal, invalid, or unenforceable as to any
   person or circumstanca, that finding shall net make the offending provision Illegal, invalid, or unenforceable es to any other person or
   circumstance, If feasible, the offending provision shall he considered modified so chat it becomes legal, valid end enforceable, if the
   offending provision cannot be so modified, it shall be considered deleted from this Agreement. Unless otherwise required by law, the
   fllagality, invalidity, or unenforceebility of any provision of this Agreement shell not affoct the legality, validity or enforceability ol any other
   provision of this Agreement,
   Successor interests,    The terms of this Agreement shell be binding upon Granter, and upen Grantor’s heir,, personal representatives,
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           successors, and assigns, and shall be enforceable by Lender end its successors and assigns.
           Survival of Representations and Warranties. All representations, warranties, and agreements made by Grantor In this Agreement shall
           survive the execution and delivery of this Agreement, shall be continuing in nature, and shall remain In full force and effect until such time
           as Borrower’s indebtedness shall be paid In full.
           Time is of the Essence. Time Is of the essence In the porfermance of this Agreement.
     Waive Jury. All parties to this Agracmant Itnrohy..waive the right to any jury trial in any action, proceeding, or counterclaim brought by any
     party egntnst any other party Iin,t,’.i Hare
DEFINITIONS. The fo:lowing cepitaflaud words and terms sl’ei have the felicwing mao-tinge when usod In this Agroamont. Unloss specifIcally
stated to the contrary, eli references to dollar amounts shall mean amounts In lawful money of the United States of America. Words and terms
used In the sogular shall lr.cude the plural, and the plural shal include the sngular, as the centext may require. Words and terms not otherwise
defined in this Agreement shat hove tho meanings att:ibuted to such terms in tie Unilorm Ccmr,,crcial Ccuo:
     Account. The word ‘Account’ means the deposit accounitel eesc,ibed in the ‘Collateral Description’ section.
     Agroement. The word ‘Agreement” moons this Assignment of Deposit Account as this Assignment of Deposit Account nay be amended
     or modified from time to time, together with all exhibits and schedules atteched to this Assignment of Deposit Account from time to time.
     Borrower. The word “Bcrrowor’ moons VideoMining Coiparation and includes oil co’signers and co’mokcrs signing the Note and all their
     successors and assigns.
           Coliotorof. The wcrd ‘Collateral moons all of Grantor’s right, title and interest in end to all the Collateral as described In the Collateral
           Description section of this Agreement.
           Default. The wcrd DefauIi’ ‘titans ti,o DofaLit set forth In this Agreement In tho sectIon tilled ‘Default’.
           Event of Default, The words ‘Event of Default’ mean any of the events of default set forth in this Agreement In the defau;t section ol t-tis
           Agreement.
           Grantor. The word “Grantor’ maons flajeev Sharmo and Vishnu Priya Sharme.
           Guarantor. The word ‘Guarantor’ means any guarantor, surety, or accommodation party of any or all o the Indebtedness.
           Guaranty. Thu word ‘Guaranty’ moons thu guaranty from Guarantor to Lender, Including without limitation a guarenly of all or part of the
           Note.
           Indebtedness. The word ‘Indebtedness’ means the Indebtedness evidenced by the Note or Related Documents, Including all principal and
           interest together with all ether indebtedness and costs end expenses for which florrower Is responsible under this Agreement or under any
           of the Related Documents. [he liens end security Interests created pursuant to this Agreement covering the Indebtedness which may be
           created in the future shall relate hack to the date of this Agreement.
           Lender, The word “Lender’ means ENTERPRISE OANK. its successors and assigns.
           Nose. ma word “Note” means the Note dated February 11, 2021 and executed by VideoMining Corporation In the principal amount of
           $335,000,00. tcgethor with all renewals of, extensions of, mod;ficatlons of, relinancings of. consolidations of, and substitutions for the
           note or credit agreomnt.
           Property. The word “Property” means all of Grantor’s right, title and Interest in and to a I the Property as described In the ‘Co:laterei
           Descripticn” section cf ths Agreement.
       flolaaed Documents. The words ‘Related Decuments’ mean all promissory noses, credit agreements, loan agrooments, environmental
       agreements, gucrantlet, security agreements, mortgages, deeds of trust, security deeds, collateral mortgages, end all other Instruments,
       egruenents and documents, whether now or hereafter existing, executed in connection with tho Indebtedness,


BORROWER AND GRANTOR HAVE READ AND UNDERSTOOD ALL THE PROVISIONS OF THIS ASSIGNMENT OF DEPOSIT ACCOUNT AND
AGREE TO ITS TERMS. THIS AGREEMENT IS DATED FEBRUARY 11, 2D21.
THIS AGREEMENT IS GIVEN UNDER SEAL AND IT IS INTENDED THAT THIS AGREEMENT IS AND SHALL CONSTITUTE AND HAVE THE
EFFECT OF A SEALED tNSTRUMENT ACCORDING TO LAW.

GRANTOR:


                                                                       :15.5011                X*.*                       .::....c1siI
  Rejecv Sharon, Individually                                                                  Vishnu Paiya Shame. tndividualty
BORROWER:



VIDEOMINING CORPORATION
       •



By:          I   ,                         ...        ie.41,Y,’c4r     lSoaIl
      Rajeav    Sherme.        President         of      VidseMInIng
      Corporation

                                                 V.’ ‘LI flat •           n..     fit, 5051.    •,t’.   .I.,,,   PA c,4.Nn’rn,c SLOW
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                   RIDER TO ASSIGNMENT OF DEPOSIT ACCOUNT

            This Rider to the Assignment of Deposit Account (“Rider”) is an amendment to
    that certain Assignment of Deposit Account, dated February        2021 in the original
                                                                        ,


    principal amount of$l25,000.00 (“Assiunment”) given in favor of Enterprise Bank, with
    an address of 4091 Mount Royal Boulevard, Allison Park. PA 1510! (“Lender”) by Rajeev
    Sharma and Vishnu Priya Sharma. with an address of 2391 Shagbark Court, State College,
    PA 16603 (“Grantors”).

    1.     Lender agrees that notwithstanding anything in the Assignment to the contrary,
           Lender shall not exercise its contractual or common law right to set off the Account
           as authorized in the Assignment until the expiration of ninety (90) days after the
           occurrence ofan Event of Dehwlt, as that term is defined in the Assignment.

    2.    Grantors acknowledge and agree that the Account is not an IRA. Keogh or Trust
          Account which setoff would be prohibited by law.

    3.    Grantors expressly acknowledge that the DIP Line of Credit, Assignment and the
          Personal Guaranty Agreements of Grantors which serve as collateral for the DLP
          Line of Credit are of direct interest, benefit and advantage to the Grantors.

    4.    Unless otherwise modified herein, all other terms and conditions of the Pledge
          Assignment shall remain in full force and effect.

                                                 RAJEEV SHARMA




                                                 VISHNU PRIVA SIIARMA




                                                 ENTERPRISE BANK


                                         BY:
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                                                     0220%06007O26%251e53162%O21 12021

                                                    COMMERCIAL GUARANTY

Borrower;       VideoMining Corporation                                       Lender:         ENTERPRISE BANK
                403 South Allen Street Ste 101                                                EVAN HAYWARD
                State College, PA 16801                                                       4091 MoUnt Royal Bou!ev&d
                                                                                              Allison Park. PA 15101
Guarantor;      Rejeov Shormo
                Vishnu Prlya Sharma
                2391 Shagbark Court
                State Collage, PA 16803


 CONTINUING GUARANTEE OF PAYMENT AND PERFORMANCE. For good and valuable consideration, Guarantcr absolutely and unconditionally
 guarantees ft,ll and punctual payment and satisfaction of the indebtedress of Borrower to Lender. end the performance ano dIscharge of all
 Borrower’s obligatIons under the Ncto and the Related Documents. This is a guaranty of payment and pertcrmanca and not of collection, so
 Lender cen enforce thIs Guaranty against Guarantor even when Lender has not exi,austed Lenders remedies ega’nst anyone else obligated to
 pay the Indebtedness or against any coteteral securIng the Indebtedness, this Guaranty or any ott-er guaranty of the Indebtedness. Guarantor
 wili make any poymenes to lender Or its order, on demand, in legal tender of the Unltod States of America, In same-day funds, without set-off or
 daduotlon or counterclaim, and will otherwise perform Borrower’s obhgatlons under tho Note and Rolated Documents, Under this Guaranty.
 Guarantor’s liability Is unlimited and Guarantor’s obligations are continuing.
  INDEBTEDNESS. The word “Indebtodnoss’ as usod in this Guaranty moans all of the prlnalpnl amount outstanding from time to time end at any
  one or more time,, accrued unpaid Interest thereon and oil collection costs and legal expanses related thereto permitted by law, Guarantor
  agrees to pay upon demand all of Londor’s costs and expenses, Including Lander’s reasonable attarnoys’ foes end Lender’s legal expenses,
  Incurred iby Lender’s Internal counsel or Lender’s external counseil In connection with the enforcement of this Guaranty, Lender mey hire or
  pay someone else to haip enforce ihis Guaranty, and Guarantor shall pay the costs end expanses of such enforcement, Costa and expanses
  include Lender’s reasonebia attorneys’ fees and legal expenses whether or not there Is a lawsuit, including reasonable attorneys’ toes end legal
  expenses for bankruptcy proceedings (including efforts to modify or vacate eny automatic stay or Injunctioni, appeals, and any enticipated
  post-Judgment collection services. Guarantor also shall pay all court costs end such additional laos as may be directed by the court, arisIng from
  any and all debts, liabilities and obligations of every netvre or form, now existing or horoeftor arising or acquired, that Borrower Individually or
  collectively or interchangeably with others, owes or will owe Lender. ‘Indebtedness” includes, without limitation, loans, advances, debts,
 overdraft indebtedness, credit card indebtedness, loose obligations, liabilities end obligations under any Interest rate protection agreements or
  foreign currency exchange agreemonta or commodity prico protection agreements, other obligations, and liabilities of Borrower, end any preaant
 or future judgments against Borrawor, future advances loans or transactions thot renew, extend, modify, refinance, consolidate or substitute
 these dabts, liabilities and obligations whether: voluntarily or involuntarily incurred; due or to become due by their terms or ecceleretlon;
 absolute or contingent; fiquidetod or unliquldated; determined or undetermined; director indirect: primary or secondery in nature or arising from a
 guaranty or surety; secured or unsecured; joint or several or Joint and several; evidenced by a negotiable or non’negotiabie Instrument or writing;
 originated by Lander or another or others; burred ar unenfarceable against Borrower far any reason whatsoever; for any transactions that may
 be voidable for any reason such as infancy, Insanity, ultra viras or otherwise); and originated then reduced ar extinguished and then afterwards
 increased or reinstated.
 If Lender presently holds one or more guaranties, or hereafter receives additional guaranties from Guarantor, Lander’s rights under all guaranties
 shah be cumulative, This Guaranty shall nat unless specifically provIded below to the contrary) affect or invalidate any such other guaranilas.
 Guarantor’s liability will be Guarencor’s aggregate liability under the terms of this Guarenty and any such other untarminated guaranties,
 CONTINUING GUARANTY. THIS IS A “CONTINUING GUARANtY’ UNDER WHICH GUARANTOR AGREES TO GUARANTEE THE FULL AND
 PUNCTUAL PAYMENT, PERFORMANCE AND SATISFACTION OF THE INDEBTEDNESS OF BORROWER TO LENDER, NOW EXISTING OR
 HEREAFTER ARISING OR ACQUIRED, ON AN OPEN AND CONTINUING BASIS.                               ACCORDINGLY, AN( PAYMENTS MADE ON THE
 iNDEBTED.ES5 WILL NOT DISCHARGE OR DlMiiSH GUARANTOR’S OBLIGATIONS AND LIABILITY UNDER THIS GUARANTY FOR ANY
 REMAINING AND SUCCEEDING INDEBTEDNESS EVENJ WNEN ALL OR PART OF THE OUTSTANDING INDEBTEDNESS MAY BE A ZERO
 BALANCE FROM TIME TO TIME,
 DURATION OF GUARANTY. This Guoranty wt take effect when received by Lender wIthout the necessity of any acceptance by Lender, or any
notice to Guarantor or to Borrower, and will continue in full force until et the indebtedness Incurred or contracted before receipt by Lender of
 any notice of rovocetion shall have been fully and finehy paid end satisfied end elI of Guarantor’s other obligations under this Guaranty shall have
been performed in ful.. if Guarantor elects to revoke this Guaranty, Guarantor may only do Sc n writing. Guarantor’s written rotice of
revocatian must be mailed to Lender, by certified mail, at Lender’s address listed above or such other piece es Lender may designate in writing,
Written revocation of this Guaranty will apply only to new indebtedness created after actual receipt by Lender of Guarantor’s written revocatIon,
For this purpose end without Ii’nitetion, the term Thaw Indebtedness’ does not include the Indebtedness which at the t’me of notice of
revocation is contingent, unhquideted, undetermined or not due end which later becomes abso’ute, lIquIdated, determined cr due. For thls
curpase and without limitation, ‘new indebtedness” does not Include all or pan of the indebtedness that is: incurred by Borrower prior to
revocatIon; incurrcd under commitment that became binding bafare revocation; any ranowals, extensions, substitutions, and medfi;atlons of
the indebtedness, This Guaranty shall bInd Guarantor’s estate as to the indebtedness created both before ard altar Guarontor’s death or
Incapacity, roga’dless of Lender’s actual notice of Guarantor’s death, Subject to the foregcing, Guarantor’s executer or administrate’ or other
 egel ropre,on:etive may cermlnete this Guaranty in the same merv,er in which Guarantor might have terminated it end wIn the same effect,
Release of any other guarantor or termlnetion of any other guaranty of the indebtedness shall no: affect the lability cf Guarantor under thIs
Gueranty. A revocation Lender receives from any one or more Guaruntors shall net affect the liability of any remaining Guerenters under ihis
Guaranty. it Is anticipated that fluctuations may occur in the aggregate amount of the indebtedness covered by this Guaranty, end Guarantor
spacifically acknowledges and agrees that raductians in the amount of the indebtedness, even to zero dollars ($0.00), shall not constItute a
terminatIon of this Guaranty. ThIs Guaranty Is binding upon Guarantor and Guarantor’s hairs, successors and assigns so long as any of tha
indebtedness remain, unpaid and oven though the indebtedness may from time to tIme be zeta dollars ($0.00).
GUARANTOR’S AUTHORIZATION TO LENDER, Guarantor authorins Lender, either before cr after any revocation hereof, without notice or
demand and without lessening Guarantor’s hobility under this Guaranty, from time to time: (Al prior to revocation as set forth above, to make
one or more additional seourad or unsecured loans to Borrower, to lease equipment or other goods to Borrower, or otherwise to extend
additional credit to Borrower: (B) to alter compromise, renew, extend, accelerate, or otherwise change one or more times the time for payment
or other terms of the Indebtedness or any part of the indebtedness, Including increases and decreases of the rate of interest on the
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                                                     COMMERCIAL GUARANTY
Loan No: 6007026                                                 (Continued)                                                              Page 2

Indebtedness; extensions may be repeated and may be for longer than the original loan term; ci to take and hold security far the payment of
this Guaranty or the indebtednoss, and exchange, enforce, waive, subordinate, fail or decide not to perfect, and release any such security, with
or without the substitution of new collateral; ID) to reioaso, substitute, agree not to aue. or dual with any one or more of Bcrrower’s sureties,
ondorsers, or other gunrontors on any torms or In any manner Lender may choose; (E) to determine how, when and what application of
payments and credits shah be maO on the indebtedness; (F) to apply such security and direct the order or manner of sale thereof, including
without Umitation, any nonjudicial salo permitted by thu terms of the controfling security agreement or deed cf trust, as Lender in its dincrotion
may determine; (Of to sell, transfer. assign or grant participations in all or any part of the Indebtedness; and (Hi to assign or transfer this
Guaranty In whole or In part
GUARANTOR’S REPRESENTATIONS AND WARRANTIES. Guarantor represents and warrants to Lender that (A) no representations or
agreements of any kind havo been made to Guarantor which would limit or qualify in any way the terms of this Guaranty; fBi this Guaranty is
executed at Borrowers request and not at the request of Lender; (C) Guarantor has full power, right and authority to enter Into this Guaranty;
iD) the provisions of this Guaranty do not conflict with or result in a default under any agreement or other Instrument binding upon Guarantor
ond do not resuit In e vioiation of any law, regulation, court docree or order applicable to Guarantor; iEi Guarantor has not end will not, without
the prior written consent of Lender, seli, lease, assign, encumber, hypothecate transfer, or otherwise dispose of nil or substentiaiiy eli of
Guarantor’s assets, or any interest therein; (Fl upon Lander’s request, Guarantor wili provide to Lander financial and credit inlormetion in form
acceptable to Lender, and all such financial Information which currently has been, and all future financial information which will be provided to
Lander is and wili be true and correct in eli material respects and fairly present Guarantor’s financini condition as of the dates the financial
information is provided; iG) no material adverse change has occurred in Guarantor’s financiei condition slnco tho data of tho most recent
financial statements provided to Lender and no event has occurred which may materially adversely affect Guarantor’s financial condition; iH)
no litigation, cfalrn investigation, admlnlstrative proceocing or s!miar t’on (Including thoso for unpaid texasi against Guaranto, is pondinc or
threatened: ii Lender has made no representation to Guarantor as to the creditwonniness of Borrowa’; anc iji Guarantor has establishac
adequate means of obtaining from Borrower on a continuing deals infcrmellon regarding Borrowers financial condition. Guarantor agrees to
keep odoqualaly informed from such moans of any facts, events, or circumstances which might in any ‘.vey affect Guarantor’s risks under this
Guaranty, and Guarantor further agrees that Londar shall hava no obligation to disclose to Gusrantor any nformacion or documents acquired by
Lender in the course of its rolationship with Borrcwer.
GUARANTOR’S WAIVERS. Except as prohbitod by applicable law, Guarantor walvos any right to require Lander (A) Ic continue lancing
money or to extend other credit to Borrower; IB) to make any presentment, protest. demand, or notice of any kind. inciudr.g notice of any
ronpaymant of the lndobtodrass or of any ncnpayment relatod to any collotoro!, or notico of any acton or nonaotlon on the port of Borrower,
Lender, any surety, er,dcrsar, or other guarantor in connection wit,j the Indebtedness or in connection with the creation of new or addItional
loans cr obligations; (Ci to resort for payment or to proceed diroctiy or at cnce against any parson, including Borrower or any other guarantor;
tOf to proceed drectiy against or exhaust any collateral held by Lender from Borrower, any other guarantor, or ony ether person; El to give
notice ef tie terms, time, and piece of any public or private sale of personal property security held by Lender from Borrower or to comply with
any other applicabte provisions of the Uniform Ccmmerclai Code: 1Ff to pursue any other remedy within Lender’s power; or iG) to commit ely
act or omission of any kind, or at any time, with respect to eny matter whatsoever,
Guarantor aiso waives any and all rights ar defenses bosed on suretyship or impairment of collateral including, but not limited to, any rights or
defences arising by reason of lAl any ona action’ or ‘enti’daflcienoy’ law or any other low which may prevent Lender from bringing any
action, including a claim for deficiency, against Guarantor, before or after Lander’s commencement or completion of any foreclcsuie action,
either judiciaiiy or by exercise of a power of safe; (B) any election of remedies by Lender which destroys or otherwise adversely affocts
Guarantor’s subrogation rights or Guarantor’s rights to proceed against Borrower for reimbursement, including without limitation, any loss of
rights Guarantor may suffer by reason of any law limiting, qualifying, or discharging the ir,debtedness; (C) any disability or othtr defense of
Borrower, of any other guarantor, or of any other person, or by reason of the cessation of Borrowor’s liability from any cause whatsoever, other
than payment in full in legal tcnder, of the indebtedness; ID) any right to claim discharge of the Indebtedness on the basis of unlustified
impairment of any collateral for the indebtedness; (El any statute of imitetiorts, If at any time any tiction or suit orought by Lender against
Guarantor is commenced, there is outstandino Indebtedness which is not barred by any appicabfo statute of krnltations: or lFl any defenses
g:van to guarantors at law or in equity ctner than actual payment and performance of the indebtedness, If payment is made by Borrower.
whether voluntarily or otherwise, or by any third party, on the Indebtedness and thereafter Lender is Forced to remit the amount of that payment
to Borrower’s trustee in bankruptcy or to any simliar person under any federal or state bankruptcy law or law for the relief of debtors, the
lndabtedr.ess shell be considered unpaid for the purpose of the enforcement of this Guaranty.
Guarantor further waives and agraos not to assort or claim at any time any deductions to the amount guaranteed under this Guaranty for any
ciaim of setoff, counterclaim, counter drmand, recoupment or simler right, whether such claim, demand or right may be asser,ed by the
Borrcwer, the Guarantor, or both.
GUARANTOR’S UNDERSTANDING WITH RESPECT TO WAiVERS. Guarantcr warrants and agrees that each of the w&vers set forth above is
made with Guarantor’s lull knowledge of its significance and conseouenoes and that, under the circumstances, the waivers are reasonable end
not contrary to public poKey Cr law, if any such waIver is determined to be contrary to any appiaabia law or public poCcy, such w&ver shall be
effective only to iha extent permitted by law or pubilo poicy.
RIGHT OF SETOFF. To the extent permitted by applicable law, Lander reserves a rIght of sateff in eli Guarantor’s accounts with Lender
 whether checking, savings, or some other accountf. ThIe inciudes eli accounts Guarantor holds Jointly with someone also nnd all accounts
Guarantor may open in the future. However, this does not include any IRA or Keogh accounts, or eny trust accounts for which sotoff would be
prohibited by law. Guarantor authorizes Lender, to the extent permitted by appllcabla law, to hold those funds if there Is e default, and Lender
may apply the funds in these accounts to pay what Guarontor owes under the terms of thIs Guaranty.
SUBORDINATION OF LORROWER’S DEBTS TO GUARANTOR. Guarantor agrees that the indebtedness, whether now existing or hereafter
created, shall be superior to any claim that Guarantor may new have or hereafter acquire against Borrower, whether or not Borrower becomes
Insolvent. Guarantor hereby expressly subordinates any claim Guarantor may have against Borrower, upon any account whatsoever, to any
claim that Lendar may now or hereafter have against Borrower, In the event of Insolvency and consequent liquidation of the assets of Borrower,
through bankruptcy, by an asaignmont for the benafit of creditors, by voluntary liquidation, or otherwise, the assets of Borrower applicable so
the payment of the claims of both Lender and Guarantor shall be paid to Lender end shell be first applied by Lender to the Indebtedness.
Guarantor does hereby assign to Lender all claims which it may have or acquire against Borrowar or against any assignee or trustee in
bankruptcy of Borrower; provided however, that such assignment shall be effective only for the purpoaa of assuring to Lender full payment in
legal tender of the Indebtedness. if Lender Se requests, any notes or credit agreements now or hereafter evidencing any debts or obligations cf
Borrower to Guarantor shall be marked with a legend that the same are subject to this Guaranty and shah be delivered to Lender. Guarantor
agrees, and Lender is hereby authorized, in the name of Guarantor, from time to time to file financing statements and continuation statoments
and to execute documents and 10 take such other actions as Lender deems necessary or appropriate to perfoct, preserve and enforce Its rights
under this Guaranty.
MISCELLANEOUS PROVISIONS. The following miscellaneous provisions are a part of this Guaranty:
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                                                       COMMERCIAL GUARANTY
 Loan No: 6007026                                                  (ContInued)                                                               Page     3
      Amondmonts. This Guaranty, sogotber with any Related Documents, constitutes the entire understanding and agreement of the parties as
      to the matters set forth in this Guaranty, No alteration of or amondment to this Guaranty shall be affective unless given In writing and
      signed by the party or parties sought to be charged or bound by the alteration or emandment.
       Attorneys Foot; Expenses, Guarantor agrees to pay upon demand all of Lender’s costs and expenses, including Lender’s reasonable
       attorneys’ toes and Lender’s logal expenses, Incurrad Iby Lender’s internal counsel or Lender’s external counsel) in connection with the
       enforcement of this Guaranty. Londor may hiro or pay someone else to help enforce this Guaranty, end Guarantor shell pay the costs and
      oxponsea of such enforcement. Costs and expenses Include Lender’s reasonable ettorneys’ lees and legal expenses whether or not there is
         lawsuit, including reasonable attorneys’ lees end legal expenses for bankruptcy proceedings Unciuding efforts to modify or vacate any
      automatic stay or injunctioni, appeals, and any anticipated postjudgment collection servIces. Guarantor also shall pay Gil court coats and
      such additional lees as may be directed by the court.
      Caption Headings. Caption headtngs n this Guoranty ore for ccnvanience purposes only and are not to be usod to Interpret or define the
      provisions of this Guaranty.
      Governing Law. This Guaranty will be governed by fodaral low apptcablo to Lander and, to the oxtont not preempted by lodaral law, iho
      laws of tho Commonwealth of Pennsylvania without regard to Its conflicts of law provisions.
      intogratlon. Guarantor furthor agracs that Guarontor has read and fully understands the terms of this Guaranty; Guarantor has had the
      opportunity to be advised by Guarantor’s attorney with respect to mis Guaranty; the Guaranty ILMy reflects Guarantor’s intentions and parol
      evidence is not requirac to interpret the terms of this Guaranty. Gurantor hereby indemnifies and holds Lender harmless from all losses,
      claims, damages, and costs linciuding Lender’s attorneys’ teas) suffered or incurred by Lender as a rosult of any breech by Guarantor of the
      warranties, representations and agreements of this paragraph.
     interpretation. In eli cases where there is more than one Borrower or Guarantor, then all words usod in this Guorenty In tho singular shall
     be deemed to have been used in the plural where the context anti construction so require; and where there is more than one Borrower
     named In this Guaranty or when this Guaranty is oxocutod by more than one Guarantor, the words “Borrower” and “Guarantor”
     respectively shall mean all end any one or more of them, The words “Guarantor,’ “Borrower,” end “Londor” Include the heirs, successors,
     assigns, and transfarees of each of them. if a court finds that any provision of this Guaranty is no; valid or should not be onforcad, thot
     fact by itself will not mean that the test of this Guaranty will not be valid or enforced, Therefore, a court will enforce the rest of the
     provisions of this Guaranty even If a provision of this Guaranty may be found to be invalid or unenforceable, if any ono or more of
     Borrower or Guarantor are corporotlons, partnerships, limited liability companIes, or similar entitlas, It is not necessary for Lender to inquiro
     into the powers of Borrower or Guarantor or of the officers, directors, partners, managers, or other agents acting or puroorting to act on
     their behalf, and any indebtedness modo or created in reliance upon the professed axereisa of such powers sha!l be guaranteed under this
     Guaranty.
      Notions. Unless otherwise provided by appi:cabio law, any notice raqurad to be given under this Guaranty shall be given in wrtlng, end,
     except for revocation notices by Guarantor, shall be effective when actually delivered, when actuaty received by telefacslmile (unless
     otherwise required by awl, when danoshad with a nationally recognized overnight courier, or, if mailod, when deposited in tho United
     States mail, as first class, certified or registered mai postage prepeid. directed to the addresses shown fleer the beginning of this Guaranty.
     Al. revocation notices by Guarantor shall be in writing and shall be efiective upon delivery to Lerder as provded In the section of this
     Guaranty entitled ‘DURATION CF GUARANTY.” Any party may change its address for notices under this Guaranty by giving formal written
     notice to the other parties, specifying that the purpose of the notice is to change the party’s address, For notice purposes, Guarantor
     agrees to keep Lender Informed at oil times of Guarantor’s current address. Unless otherwise provided by applicable law, If there Is more
     than one Guarantor, any notioe given by Lender to any Guarantor is deemed to be notice given to at Guerantors.
     No Waiver by Lender. Lender shall not be deemed to have waived any rights under this Guaranty unless such waiver is given in writing and
     signed by Lender. No daiay or omission on tho part of Londor in exercising any right shall operate as a waiver of such right or any other
     right. A walvor by Lander of a provIsion of this Guaranty shall not prejudice or constitute a waiver of Lender’s right otherwise to demand
     strict compliance with thot provision or any other provision of this Guaranty. No prior waiver by Lender, nor any course of dealing between
     Lender and Guarantor, shell constitute a waiver of any of Lender’s rights or of any of Guarantor’s obligations as to any future transactions.
     Whenever the consent of Lender is required under this Guaranty, the granting of such consent by Lender In any instance shall not constitute
     continuing consent to subsequent instances where such consent is required and In all cases such consent may bo granted or wIthhold in
     tie sole discretion of Larder.
     Successors end Assigns.       The terms of this Guaranty shall be bindlng upon Guarantor, and upon Guarantor’s hers, personal
     representatives, successors, and assigns, and shall La enforceable by Lender and Its successors and assigns.
     Waive Jury. Lender and Guarantor hereby waive the .rightto arty Jtir.y trial In any action, proceeding. or counterclaim brought by either
     Lender or Guarantor against the other finitlal Here                   —




     Additional Waivers, in addItion to the waivers set forth In the paragraph entitled “Guarantor’s V.’eivers”. Guarantor hereby waives eny and
     all rights or defenses based upon or erising out of any materiel modification to the Note or indebtedness or security for such Note or
     Indebtadnass as well as any rights or defenses based upon or arising out of any fact that materially increases the risk to the Guarantor.
DEFINiTIONS. The following capitalized words and terms shall have the following meanings when used in this Guaranty. Unless specifically
stated to the contrary, all references to dollar amounts shall mean amounts In lawful money of the United States of America. Words and terms
used in the singular shall include the plural, end the plural shall include the singular, as the context may require. Words and terms not otherwise
defined in thio Guaranty sheti have the meanings attributed to such terms In the Uniform Commercial Code:
    Borrower. The word “Borrower” means VideoMining Corporation and includes all cosignars and co-makers signing the Note and all their
    successors and assigns,
    Guarantor. The word “Guarantor” means everyone signing this Guaranty, including without limitation Rajcev Sharma end Vishnu Priya
    Sharma, end in each case, any signer’s successors and assigns.
    Guaranty. The woro ‘Guaranty” moans this guaranty from Guarantor to Lender.
    Indebtedness. The word “indebtedness” means Borrowers indebtedness to Lender as more particularly described in this Guaranty,
    Landor. The word ‘Lender’ means ENTERPRiSE BAN<, its successors and ass’gns.
    Note. The word ‘Ncte” means and includes without limitation all of Borrower’s promissory notes and/or credit agreements evidencing
    Borrower’s loan obtgations In favor of Lender, together with al ranowals of, cxtenslons of, mcditica:ions of, refinencir,gs of, ccnsolidetion,
    of and substitutions for promissory notas or credit agreements.
    Related Documents.     The words “Related Documents” mean all promissory notes, cradit agreements, loan agreements, environmental
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                                                            COMMERCIAL GUARANTY
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       agreements, guaranties, security agreements, mortgages, deeds of trust, security deeds, ccllator& mortgages, and all ocher nstruments,
       agreements and dooumonts, whether now or hereafter existing, executed in connection with the Indebtedness,
CONFESSION OF JUDGMENT.       GUARANTOR HEREBY IRREVOCABLY AUTHORIZES AND EMPOWERS ANY ATTORNEY OR THE
 PROTHONOTARY OR CLERK OF ANY COURT IN THE COMMONWEALTH OF PENNSYLVANIA, OR ELSEWHERE, TO APPEAR AT ANY TIME
FOR GUARANTOR AFTER THE AMOUNTS HEREUNDER BECOME DUE ANO WITH OR WITHOUT COMPLAINT FILEO, CONFESS OR ENTER
JUDGMENT AGAINST GUARANTOR FOR THE ENTIRE PRINCIPAL BALANCE OF THIS GUARANTY AND ALL ACCRUED INTEREST LATE
CHARGES AND ANY AND ALL AMOUNTS EXPENDED OR ADVANCED BY LENDER RELATING TO ANY COLLATERAL SECURING THE
INDEBTEDNESS, TOGETHER WITH COSTS OF SUIT, AND AN ATTORNEY’S COMMISSION OF TEN PERCENT (10%) OF THE UNPAID
PRINCIPAL BALANCE AND ACCRUED INTEREST FOR COLLECTION, BUT IN ANY EVENT NOT LESS THAN FIVE HUNDRED DOLLARS $500)
ON WHICH JUDGMENT OR JUDGMENTS ONE OR MORE EXECUTIONS MAY ISSUE IMMEDIATELY; AND FOR SO DOING, THIS GUARANTY OR
A COPY OF THIS GUARANTY VERIFIED BY AFFIDAVIT SHALL BE SUFFICIENT WARRANT. THE AUTHORITY GRANTED IN THIS GUARANTY
TO CONFESS JUDGMENT AGAINST GUARANTOR SHALL NOT BE EXHAUSTED BY ANY EXERCISE OF THAT AUTHORITY, BUT SHALL
CONTINUE FROM TIME TO TIME AND AT ALL TIMES UNTIL PAYMENT IN FULL OF ALL AMOUNTS DUE UNDER THIS GUARANTY,
GUARANTOR HEREBY WAIVES ANY RGHT GUARANTOR MAY HAVE TO NOTICE OR TO A HEARING IN CONNECTION WITH ANY SUCH
CONFESSION OF JUDGMENT AND STATES THAT EITHER A REPRESENTATIVE OF LENDER SPECIFICALLY CALLED ThIS CONFESSION OF
JUDGMENT PROVISION TO GUARANTOR’S ATTENTION OR GUARANTOR HAS BEEN REPRESENTED BY INDEPENDENT LEGAL COUNSEL.
EACH UNDERSIGNED GUARANTOR ACKNOWLEDGES HAVING READ ALL THE PROVISIONS OF THIS GUARANTY AND AGREES TO ITS
TERMS. IN ADDITION, EACH GUARANTOR UNDERSTANDS THAT THIS GUARANTY IS EFFECTIVE UPON GUARANTOR’S EXECUTION AND
DELIVERY OF THIS GUARANTY TO LENDER AND THAT THE GUARANTY WILL CONTINUE UNTIL TERMINATED IN THE MANNER SET FORTH
IN THE SECTION TITLED ‘DURATION OF GUARANTY. NO FORMAL ACCEPTANCE BY LENDER IS NECESSARY TO MAKE THIS GUARANTY
EFFECTIVE. THIS GUARANTY IS DATED FEBRUARY 11.2021.
WE ARE SIGNING THIS GUARANTY AS HUSBAND AND WIFE, AND WE AGREE THAT THIS JOINT ACTION WAIVES OUR RIGHTS AS
TENANTS BY THE ENTIRETIES,
THIS GUARANTY IS GIVEN UNDER SEAL AND IT IS INTENDED THAT THIS GUARANTY IS AND SHALL CONSTITUTE AND HAVE THE EFFECT
OF A SEALED INSTRUMENT ACCORDING TO LAW.

GUARANTOR;



                                                                                                                                      JSe&)
    Rajeav Sharme                                                                    Vishnu Pviya Sharmo
SIgned. acknowlodgod and dollverod In tho prosonco of:

x
    Wltnoss

X
    Witness


                                                    INDIVIDUAL ACKNOWLEDGMENT

STATE OF      —




                                                                            I SS
COUNTY OF


This reCord was ecknowledgod be’ore ma on                                                              2D________ by Rajeev Sherma end Vishnu Priya
Sharma.




                                                                                             Signetura of Notariel Officer
                                                                                            Notary Public In and for the State of

                                                                                             My commIssion oxpiros




                                 1..Pn. V.,.   i.,,,ea C••.Th—* “A   Itt =ZI.   A,           ‘0 C     fflICTh.I54Ifl.CO,4
    Case 20-20425-GLT                    Doc 241-2 Filed 02/23/21 Entered 02/23/21 13:33:55                                              Desc
                                                Exhibit A Page 16 of 23


                                DISCLOSURE FOR CONFESSION OF JUDGMENT
   Principal            Loan Date          Maturity            Loan No               Call I Coil           Account           Officer       Initials
 $335,000.00           02-11-2021                              6007026             RCC4                  251853162              EH
    Rofaronces In the boNes above are for Lender’s use only and do not limit the applicabulty of thIs document Id any particular loan or Item.
                              Any torn above containing          has. been omitted duo to text length limitations.
Borrower:      VideoMining Corporation                                       Lender:         ENTERPRISE BANK
               403 South Allan Strati Ste 101                                                EVAN HAYWARD
               State College, PA 16801                                                       4091 Mount Royal Boulevard
                                                                                             Allison Perk. PA 1 5101
Deciarant:     Rojoov Sharme
               2391 Shagbark Court
               State College, PA 16803


                                     DISCLOSURE FOR CONFESSION OF JUDGMENT

 I AM EXECUTING. THIS                DAY OF                                      20_. A GUARANTY FOR AN UNLIMITED AMOUNT.
 A. i UNDERSTAND THAT THE GUARANTY CONTAINS A CONFESSION OF JUDGMENT PROVISION THAT WOULD PERMIT LENDER TO ENTER
 JUDGMENT AGAINST ME IN COURT, AFTER A DEFAULT ON THE GUARANTY. WITHOUT ADVANCE NOTICE TO ME AND WITHOUT
 OFFERING ME AN OPPORTUNITY TO DEFEND AGAINST THE ENTRY OF JUDGMENT. IN EXECUTING THE GUARANTY. BEING FULLY AWARE
 OF MY RIGHTS TO ADVANCE NOTICE AND TO A HEARING TO CONTEST THE VALIDITY OF ANY JUDGMENT OR OTHER CLAIMS
                                                                                                              THAT
 LENDER MAY ASSERT AGAINST ME UNDER THE GUARANTY. I AM KNOWINGLY, INTELLIGENTLY. AND VOLUNTARILY WAIVING THESE
 RIGHTS, INCLUDING ANY RIGHT TO ADVANCE NOTICE OF THE ENTRY OF JUDGMENT, AND I EXPRESSLY AGREE AND CONSENT TO
 LENDERS ENTEmNO     DGMENT AGAINST ME BY CONFESSION AS PROVIDED FOR IN THE CONFESSION OF JUDGMENT PROVISION,
 INITIALS;

B. I FURTHER UNDERSTAND THAT IN ADDITION TO GIVING LENDER THE RIGHT TO ENTER JUDGMENT AGAINST ME WITHOUT ADVANCE
NOTICE OR A HEARING, THE CONFESSION OF JUDGMENT PROVISION IN THE GUARANTY ALSO CONTAINS LANGUAGE THAT WOULD
PERMIT LENDER. AFTER ENTRY OF JUDGMENT, AGAIN WITHOUT EITHER ADVANCE NOTICE OR A HEARING, TO EXECUTE ON THE
JUDGMENT BY FORECLOSING UPON. ATTACHING, LEVYING ON, TAKING POSSESSION OF OR OTHERWISE SEIZING MY PROPERTY, IN FULL
OR PARTIAL PAYMENT OF THE JUDGMENT. IN EXECUTING THE GUARANTY, BEING FULLY AWARE OF MY RIGHTS TO ADVANCE NOTICE
AND A HEARING AFTER JUDGMENT IS ENTERED AND BEFORE EXECUTION ON THE JUDGMENT, I AM KNOWINGLY, INTELLIGENTLY AND
VOLUNTARILY WAIVING THESE RIGHTS, AND I EXPRESSLY AGREE AND CONSENT TO LENDER’S IMMEDIATELY EXECUTING ON THE
JUDGMENT IN ANY. •NNER PERMITTED BY APPLICABLE STATE AND FEDERAL LAW, WITHOUT GIVING ME ANY ADVANCE NOTICE,
INITIALS: I

C.  AFTER HAVING READ AND DETERMINED WHICH OF THE FOLLOWING STATEMENTS ARE APPLICABLE, BY INITIALING EACH
STATEMENT THAT APPLIES. I REPRESENT THAT:

INITIALS

             1. (WAS REPRESENTED BY MY OWN INDEPENDENT LEGAL COUNSEL IN CONNECTION WITH THE GUARANTY.

             2. A REPRESENTATIVE OF LENDER SPECIFICALLY GALLED THE CONFESSION OF JUDGMENT PROVISION IN THE GUARANTY
             TO MY ATTENTION.

E. (CERTIFY THAT MY ANNUAL INCOME EXCEEDS $10,000; THAT THE BLANKS IN THIS DISCLOSURE WERE FILLED IN WHEN I INITIALED
AND SIGNED IT; AND THAT I RECEIVED A COPY AT THE TIME OF SIGNING.



THIS DISCLOSURE IS GIVEN UNDER SEAL AND IT IS INTENDED THAT THIS DISCLOSURE IS AND SHALL CONSTITUTE AND HAVE THE
EFFECT OF A SEALED INSTRUMENT ACCORDING TO LAW.

DECLARANT:


                                                         ‘.ISeoI)
  Ra]aev Sharma
SIgned, acknowledged and delivered In tho prosonco of:

K_____________________________________________________
 Witness

K_____________________________________________________
 Witness
      Case 20-20425-GLT                    Doc 241-2 Filed 02/23/21 Entered 02/23/21 13:33:55                                              Desc
                                                  Exhibit A Page 17 of 23


                                 DISCLOSURE FOR CONFESSION OF JUDGMENT
      Principal            Loan Date         Maturity             Loan No              Call Coil             Account           Officer       Initials
    $335,000.00           02-11-2021                              6007026           RCC4                   251853162              EM
      References in the boxes ebove are for Lenders use only and do not limit the applIcabilIty of thIs document to any partIcular loan or Item.
                                Any item above containing”” has boon omitted duo to text length limitotions.
Borrower:        VIdooMining Corporation                                       Lender:         ENTERPRISE BANK
                 403 South Aton Stroot Sw lOt                                                  EVAN HAYWARD
                 State College, PA 16801                                                       4091 Mount Royal Boulevard
                                                                                               Allison Park, PA 15101
Ucciarant:       Vishnu Priya Sharma
                 2391 Shagbark Court
                 State College, PA 16803


                                       DISCLOSURE FOR CONFESSION OF JUDGMENT

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 A. I UNDERSTAND THAT THE GUARANTY CONTAINS A CONFESSION OF JUDGMENT PROVISION THAT WOULD PERMIT LENDER TO ENTER
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 LENDER’S ENTERING JUDGMENT AGAINST ME BY CONFESSION AS PROVIDED FOR IN THE CONFESSION OF JUDGMENT PRDVISION.
 INITIALS’.i::

 B. I FURTHER UNDERSTAND THAT IN ADDITION TO GIVING LENDER THE RIGHT TO ENTER JUDGMENT AGAINST ME WITHOUT ADVANCE
 NOTICE OR A HEARING. THE CONFESSION OF JUDGMENT PROVISION IN THE GUARANTY ALSO CONTAINS LANGUAGE THAT WOULD
 PERMIT LENDER, AFTER ENTRY OF JUDGMENT, AGAIN WITHOUT EITHER ADVANCE NOTICE OR A HEARING, TO EXECUTE ON THE
 JUDGMENT BY FORECLOSING UPON. ATTACHING, LEVYING ON, TAKING POSSESSION OF OR OTHERWISE SEIZING MY PROPERTY, IN FULL
 OR PARTIAL PAYMENT OF THE JUDGMENT, IN EXECUTING THE GUARANTY, BEING FULLY AWARE OF MY RIGHTS TO ADVANCE NOTICE
 AND A HEARING AFTER JUDGMENT IS ENTERED AND BEFORE EXECUTION ON THE JUDGMENT, I AM KNOWINGLY, INTELLIGENTLY AND
 VOLUNTARILY WAIVING THESE RIGHTS, AND I EXPRESSLY AGREE AND CONSENT TO LENDER’S IMMEDIATELY EXECUTING ON THE
 JUDGMENT IN ANY MANNER PERMITTED BY APPLICABLE STATE AND FEDERAL LAW, WITHOUT GIVING ME ANY ADVANCE NOTICE.
 INITIALS;




 C,  AFTER HAVING READ AND DETERMINED WHICH OF THE FOLLOWING STATEMENTS ARE APPLICABLE, BY INITIALING EACH
 STATEMENT THAT APPLIES. I REPRESENT THAT:

 INITIALS

                  I WAS REPRESENTED BY MY OWN INDEPENDENT LEGAL COUNSEL IN CONNECTION WITH THE GUARANTY,

                2. A REPRESENTATIVE OP LENDER SPECIFICALLY CALLED THE CONFESSION OF JUDGMENT PROVISION IN THE GUARANTY
                TO MY ATTENTION.

E. I CERTIFY THAT MY ANNUAL INCOME EXCEEDS $10,000: THAT THE BLANKS IN THIS DISCLOSURE WERE FILLED IN WHEN I INITIALED
AND SIGNED IT; AND THAT I RECEIVED A COPY AT THE TIME OF SIGNING,



THIS DISCLOSURE IS GIVEN UNDER SEAL AND IT IS INTENDED THAT THIS DISCLOSURE IS AND SHALL CONSTITUTE AND HAVE THE
EFFECT OF A SEALED INSTRUMENT ACCORDING TO LAW.

DEC LA S A NT


X                                                             ISeall
    VIshnu Prlya Sharmo
Signed, acknowledged and dolivarod In the presence of:

X________________________________________________
 Witness

X_____________________________________________________
 WItness
Case 20-20425-GLT               Doc 241-2 Filed 02/23/21 Entered 02/23/21 13:33:55                                              Desc
                                       Exhibit A Page 18 of 23




    Parcel Identification Number:
         35.013 ‘3 15-C 101

    RECORDATION REQUESTED BY;
       ENTERPRISE BANK. EVAN HAYWARD.
       4051 Mount Royal Boulevard, Allison Park,
       PA 15101
    WHEN RECORDED MAIL TO:
        ENTERPRISE BANK. EVAN HAYWARD,
        4091 Mount Royal Boulevard, Allison Pork,
        PA 15101
    SEND TAX NOTICES TO:
        VidsoMinlng CorporatIon, 403 South Alien
        Streot Sto 101, Stato Calioge, PA 16901                                                 FOR RECORDER’S USE ONLY


                                    MODIFICATION OF MORTGAGE



                                         0740%06007026%####fl#ffW%021 12021’

    THIS MODIFICATION OF MORTGAGE dated February 11, 2021, Is made and executed between
    VideoMining Corporation, whose address Is 403 South Allen Street Ste 101, State College, PA
    16801 (referred to below as ‘Grantor’) and ENTERPRISE BANK, whose address is 4091 Mount
    Royal Soulevard, Allison Park, PA 15101 (referred to below as “Lender’),
    MORTGAGE. Lender and Grantor have entered into a Mortgage dated March 4, 2020 (the Mortgage*t which has been
    recorded In Centro County, Commcnwoalth of Pennsylvania, as follows:
       Recorded on March 26, 2020 in Centre County Rocordor ci Deeds office. Instrument number 13 02248.0060.
   REAL PROPERTY DESCRIPTION. The Mortgage covers the following described reel property located In Centre County,
   Commonwealth of Pennsylvania:
       See Ex A, which Is attached to this Modification end mode a part of this Modification as If fully set forth herein.
   The Re& Property or its address is commony known as O3 South Allen Street Ste 105, State College, PA 16801.
   The Real Property parcel identaication rumter is 36013315C1O1.
   MODIFICATION. Lender and Grantor horoby modify the Mortgage as fobws:
      Secured amount Incroasod from $210,000 to $335,000.
   CONTINUING VALIDITY, Except as expressly modified above, the terms of the ortolnal Mortgego shail remain
   unchanged and in fuli Icrce and effect and are legally valid, binding, and enforceable in accordance with lhslr respective
   ttr,s. Consent by Lender to this Modification does not weivo Lendor’s right to roqtiro strict performance of the
   Mortgage as changed above nor obligate Lender to make any future modifications. Nothing in this Modification shall
   constitute a setisfoctien or ncvation of the promissory note or ether credit agreement secured by the Mortgage (the
   ‘Note’i. it is the intention of Lancer to reton as liable all parties to the Mortgage and a parties, makers end endorser.
   to the Note, Including accommodation parties, unless a party is npressly released by Lender in writing. Any maker or
   endorser. incudng accommodation makers, shot not be released by virtue of this Modification, If any person who
   signed tne original Moregega does not sign this Modification, then all persons signIng below acknowledge that this
   Modification is given conditionally, based on the rapresontotion to Lender that the non-signing person consents to the
   changes and pravisicns of this Modification or otherwise w1 not be released by it, This waIver eppFas not only to any
    nitiel extension or modification, but else tc all such subsequent actions.
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                                      Exhibit A Page 19 of 23




                                       MCDIFICATION OF MORTGAGE
     Loan No: 6007026                          (Continued)                                                    Pago   2



     GRANTOR ACKNOWLEDGES HAVING READ ALL THE PROVISIONS OF THIS MODIFICATION OF MORTGAGE ANO
     GRANTOR AGREES TO ITS TERMS. THIS MODIFICATION OF MORTGAGE IS OATED FEBRUARY 11,2021
    THIS MODIFICATION IS GIVEN UNDER SEAL AND IT IS INTENDED THAT THIS MODIFICATION IS AND SHALL
    CONSTITUTE AND HAVE THE EFFECT OF A SEALED INSTRUMENT ACCORDING TO LAW.

     GRANTOR:



    VIDEOMINING CORPORATION

    By
         Rajoov Sharma, President of VidoaMining CorporatIon

    LENDER;


     ENTERPRISE BANK


    X                                                          (Sooll
        AuthorIzed Signor



                                         CERTIFICATE OF RESIDENCE
    I hereby certify, that tho precise address of the mortgagee, ENTERPRISE BANK, heroin Is as follows:
    EVAN HAYWARD, 4091 Mount Royal Roulovard, Allison Park. PA 15101


                                                                        Attorney   or Agent   for Mortgagee
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                                      Exhibit A Page 20 of 23




                                       MODIFICATION OF MORTGAGE
     Loan No: 6007026                                 (Continued)                                               Page 3



                                     CORPORATE ACKNOWLEDGMENT


    STATE OF                                                              I
                                                                          I CS
     COUNTY    OF




    This record was acknowledged before muon                                        20         by RaJoov Shorma,
    President of VidooMining Corporation who represent that (ho, she or theyi ore authorized to act on behalf of
    VidooMining Corporation.




                                                         Signoturo of Notarini Officor
                                                         Notary Public in and for the Steto of

                                                         My commission axplros




                                        LENDER ACKNOWLEDGMENT

    STATE OF
                                                                         I CS
    COUNTY    OF




    This rocord wcs scknowiecged before me on                                        20       by
                                                                 of ENTERPR(SE BANK who rewesent that (ha, she or
    thayf are authorized to act on bohaif of ENTERPRiSE BANK.




                                                        Signature of Notarlai Officer
                                                        Notary Public in and for the Stow of

                                                        My commission oxplres




    LaserPro, Var. 18.4.20.085     Capt. Finastra USA Corporation 1997, 2021.             AM Rights Reserved,    -   PA
                                     C:\CF1\LPL\0201 .FC TR’3981 PR.COMMLOCV
           Case 20-20425-GLT                       Doc 241-2 Filed 02/23/21 Entered 02/23/21 13:33:55                                                       Desc
                                                          Exhibit A Page 21 of 23




                                                                • 0826 % 06007026 %25 18 53 162 %02112021

                                                 NOTICE OF INSURANCE REQUIREMENTS
           Principal              Loan Date           Maturity                   Loan No          call I Coil        Account                  Officer         Initials
                                 02.11-2021                                      6007026        RCC4                251853162                   EH
           References in the boxes above are for Lenders use only and do not limit the applicability of this document to any particular loan Cr lam.
                                     Any item above contaIning         has bean omItted duo to text angth lImitatIons.
    Grantor:              VideoMining CorporatIon                                          Lender:       ENTERPRISE BANK
                          403 South Allen Street Ste 101                                                 EVAN HAYWARD
                          State College, PA 16901                                                        4091 MounL Royal Boulevard
                                                                                                         Allison Park. PA 1 5101



                         Frost & Conn. Inc.
     TO:                 AUN: Insurance Agent                                                                                             OATS: February 11, 2021




     HE:               Policy Number(s): ECP 0461208
                    Insurance Companies/Company: Travelers Insuranoo Company

     cear Insurenca Agent:
     Oantar, VideoMlning Corporation roronlcr”) is obtainir. a loan from ENTERPRISE BANK. P:ease send appropriate evIdence of Insurance to
     ENTERPRISE BANK. togetner with the requested endorsement,, on me lotowing property, which Grantor Is giving as securay for tho loan,
           Collateral:      403 South Allan Street Ste 101. State College, PA 16801.
                            Typo: FLro and extended coverage.
                            Amount: Fu9 Insurablo Value.
                            BasIs: Rap:acumont value,
                            Endorsements: Standard mortgagee’s clause wtn stpulation that coverage will not be cancelled or dimlNshed wIthout a
                            mInimum of 3D days prior wrItten notice to Lender, and without disclaimer of the insurers liability for faIlure to give such
                            nutlco,
                            Doductibles: $1,000.00.
                            Latest Delivery Date: By 10 days beloro the loon closing dale.

     GRANTOR:



     VIDEOMINING CORPORATION

—    By..’                                            ..c                 •   (Seal)
          RaJeov    Sharma,          PresIdent   of         Vtd.oMlnlng
          CorporatIon

    ATTEST:

                                                                                                          Corporate Seal
     Secretory    OT     Assistant Secretary




           RETURN TO:

                       ENTERPRISE BANK
                       4091 MT. ROYAL BOULEVARD
                       ALLISON PARK, PA 15101
                                                                                                      I•t2tI SW.   504 CI._o! In,. o:l           ..,...   PA c,.cnr.0IlJ:
                                                                                                                       1.III toC:wd.Ocv
    Case 20-20425-GLT                     Doc 241-2 Filed 02/23/21 Entered 02/23/21 13:33:55                                             Desc
                                                 Exhibit A Page 22 of 23




                                                    0035%06007026%2515531U2%02112O21

                                         AGREEMENT TO PROVIDE INSURANCE
   Principal              Loan Date          Maturity          Loan No                Call / Coil           Account           Officer      Initials
 $335,000.00             02-11-2021                            6007026             RCC4                   251853162              EH
    References in the boxes above are far Lender’s use only and do not limit the applicability of this document
                                                                                                                tc any particular loan or tam.
                               Any item above containing         has aeon omitted due to text length imitations.
Grantor;           VideoMinlng Corporation                                   Lender:         ENTERPRISE BANK
                   403 South Alien Street Sto 101                                            EVAN HAYWARD
                   State College, PA 16501                                                   4091 Mount Royal Boulevard
                                                                                             Allison Park. PA 15101

 INSURANCE REQUIREMENTS, Grantor, VidooMining Corporation l’Grantor’i, understands that Insurance coverage
                                                                                                                    Is required in connection
 with the extending of a loan or tho provfding of other financial accommodations to Grantor by Lender. These requirements
 security documents for the loan. The following minimum Insurance coverages must be provided on the following described    are set forth in the
  Collateral):                                                                                                                  collateral (the

     Collateral:  All inventory and Equlpmont,
                  Typo: All risks, including fire, thoft and liabtity.
                  Amount: Fuil Insurable Vaiuo,
                  Basis: Replacement volua.
                  Endorsoments, Lender loss payablo clause with stipulation that coverage will not be cencolied or diminished without
                  minimum of 30 days prior writton notice to Lender.                                                                            a
                  Deductibles: $1,000.00.
                  Latest Delivery Date: By IC days before the loan cios’ng data.
    Coliotaral:   403 South Allan Stroot Sto 101. State Collage, PA 16801.
                 Type: Fir, and extended coverage.
                 Amount: Full Insurable Value,
                 Oasis: Replacement velue.
                 Endorsoments: Standard mortgagee’s clause with atipulation that coverage will not be canceiiad or diminished without a
                 minimum of 30 days prior written notice to Lender, and without disclaimer of the insurer’s ilabitty for failure to glvo such
                 notice.
                 Deductibios: $1,000.00.
                 Latest Dei:vory Date: By 10 days before the loon closing date.
 INSURANCE COMPANY, Grantor may obtain insurance from any lnsurar.ce company Grantor may chcose that is reasonably acceptable
                                                                                                                                              to
 Lender, Grantor understands that credit may not be denied soiaiy because insurance was not purchased through Lender.
 FLOOD INSURANCE. Flood Insurance for the Collaternl securing this loan is described as follows:
     Real Estate at 403 south Allan Stroot Ste 101. State Collage, PA 16801.
     Should the Collateral at any time be deemed to be iocated In an area designated by the Administretor ci the Federal Emergency
     Management Agency as a special I icod hezcrd area. Grantor agrees to obtain and maintain Federal Fiocd Insurence. If evaliebio, for the Lii
     unpaId principal baiance of the loan and any prior hers on the propeny securing the loan, up to the maximum policy limits set under the
     Nationai Flood Insurance Program, or as otherwise required by Lender, end to maintain such insurance for the term of the loan. Flood
     insurance may be purchased under the National Flood Insuranco Program or from private insurors.
INSURANCE MAILING ADDRESS. All documents and othor material, relating to Insurance for this loon should be mailed, delivered or directed to
the fohowing address:
            ENTERPRISE BANK
            4091 MT. ROYAL BOULEVARD
            ALLISON PARK, PA 15101
FAILURE TO PROVIDE INSURANCE. Granter agrees to deliver to Lender, an the latest delivery data stated above, proof of the raq:jlrnd
insurance as provided above, with en effective date of February ii, 2021, or earlier. Grantor acknowiedges and agrees that if Grantor fails to
provide any required insurance or fails to continua such insurance in force, Lender may do so at Grantor’s expense es provlded in the apph:able
security document. The cost of any such Insurence, at the option of Lander, shah be added to the Indebtedness as provided in
                                                                                                                                    the security
document. GRANTOR ACKNOWLEDGES THAT IF LENDER SO PURCHASES ANY SUCH INSURANCE, THE INSURANCE WILL PROVIDE LIMITED
PROTECTION AGAINST PHYSICAL DAMAGE TO THE COLLATERAL, UP TO AN AMOUNT EQUAL TO THE LESSER OF ii) THE UNPAID
BALANCE OF THE DEBT, EXCLUDING ANY UNEARNED FINANCE CHARGES, OR (2) THE VALUE OF THE COLLATER
                                                                                                                               AL HOWEVER,
GRANTOR’S EQUITY IN THE COLLATERAL MAY NOT BE INSURED. IN ADDITION, THE INSURANCE MAY NOT PROVIDE ANY PUBLIC
LIABILITY OR PROPERTY DAMAGE INDEMNIFICATION AND MAY NOT MEET THE REQUIREMENTS OF ANY FINANCIAL RESPONSIB
                                                                                                                                          ILITY
LAWS.
AUTHORIZATION. For purposes of insurance coverage on the Colateral, Grantor authorizes Lender to provide to any person
                                                                                                                       Iincludng any
insurance agent or company) all Information Lender deems appropriate, whether regarding the Collateral, the toan or other financial
accommodations, or both.
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                                                   AGREEMENT TO PROVIDE INSURANCE
    Loan No: 6007026                                         (Continued)                                                                   Page 2


    GRANTOR ACKNOWLEDGES HAVING READ ALL THE PROVISIONS OF THIS AGREEMENT TO PROVIDE INSURANCE AND AGREES TO ITS
    TERMS. THIS AGREEMENT IS DATED FEBRUARY 11, 2021.


    THIS AGREEMENT IS GIVEN UNDER SEAL AND IT IS INTENDED THAT THIS AGREEMENT IS AND SHALL CONSTITUTE AND HAVE THE
    EFFECT OF A SEALED INSTRUMENT ACCORDING TO LAW.

    GRANTOR:



    VIDEOMINING CORPORATION

    fly                                                             Soall
          Rajaov    Sliarma,   Prouldont   of        VIdooMInIng
          CorporatIon

    ATTEST:

                                                                                                                Corporate Seal
    Socrotary or Assistant Socrolary



                                                                     FOR LENDER USE ONLY
                                                                   INSURANCE VERIFICATION
          DATE:                                                                                                       PHONE      —




          AGENTS NAME:
          AGENCY: The Hariman Agancy
          ADDRESS:
          INSURANCE COMPANY: CIncinnatI Insurance Company
          POLICY NUMBER: EPP 0255355
          EFFECTIVE DATES:

          COMMENTS:



                                                                     FOR LENDER USE ONLY
                                                                   INSURANCE VERIFICATION
          DATE:                                                                                                       PHONE      —




          AGENTS NAME:
          AGENCY: Frost & Conn. Inc.
          ADDRESS:
          INSURANCE COMPANY: Travelers Insurance Company
          POLICY NUMBER: ECP 04612DB
          EFFECTIVE DATES:

          COMMENTS:




                                           u...   I4fl CU C.,.      pa.i    t17, 2J1.   *5 et k,nn.4   PA flCOg,WItjt 1*3111 ItCOQ3AZCV
